Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.1 Filed 07/09/20 Page 1 of 101




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


   JACQUELINE           TAYLOR,           LISA Case No.
   BROOKS, MICHELE COWAN, TUANA
   HENRY, MATTIE MCCORKLE, RENEE Hon.
   WILSON, and PEOPLE’S WATER
   BOARD COALITION, on behalf of CLASS                                 ACTION
   themselves and all others similarly situated, COMPLAINT

                             Plaintiffs,         Jury Trial Demanded
         v.

   CITY OF DETROIT, a Municipal
   Corporation, through the Detroit Water and
   Sewerage       Department,   its   Agent;
   GOVERNOR GRETCHEN WHITMER, in
   her official capacity; MAYOR MICHAEL
   DUGGAN, in his official capacity; and
   GARY BROWN, in his official capacity.

                             Defendants.


      Plaintiffs Jacqueline Taylor, Lisa Brooks, Michele Cowan, Tuana Henry,

Mattie McCorkle, Renee Wilson, and People’s Water Board Coalition, on behalf of

themselves and all others similarly situated (collectively, “Plaintiffs”), bring this

civil rights class action against Defendants City of Detroit (“Detroit”), Governor

Gretchen Whitmer, Mayor Michael Duggan, and Director of the Detroit Water and

Sewerage Department (“DWSD”) Gary Brown for practices related to water service
                                           1
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.2 Filed 07/09/20 Page 2 of 101




shutoffs and water bill affordability. First, Plaintiffs allege that Defendants have

violated their bodily integrity in violation of the Due Process Clause of the 14th

Amendment to the U.S. Constitution by exhibiting deliberate indifference to the

known risks of living without water service that could, did, and will cause harm to

Plaintiffs. Plaintiffs also allege that Defendants Detroit, Duggan, and Brown have

violated the Michigan Constitution of 1963 through these actions. Second, Plaintiffs

allege that Defendant Detroit has violated the equal protection guarantees of the 14th

Amendment to the U.S. Constitution and the Michigan Constitution of 1963 by

disconnecting their water service without first determining whether they had the

ability to pay. Third, Plaintiffs allege that Defendant Detroit’s water shutoff policy

violates the Fair Housing Act, 42 U.S.C. § 3601 et seq. (“FHA”), and the Elliott-

Larsen Civil Rights Act, Mich. Comp. Laws Ann. § 37.2502 (“ELCRA”), because

it has a disproportionate and unjustified impact on Black residents.

                       INTRODUCTORY STATEMENT

      1.     Water is a human right and a basic necessity, especially in a time of

pandemic. Access to safe, affordable water is critical to stop the spread of COVID-

19 and other bacterial or viral infections through frequent handwashing and cleaning.

In Detroit, however, thousands of residents—who are predominantly and

disproportionately Black—have suffered from the lack of water service in their

homes for years. These residents, many of whom have had their water service


                                          2
    Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.3 Filed 07/09/20 Page 3 of 101




temporarily restored during the pandemic, will risk losing their water service again

when Detroit resumes its water shutoff policy. The lack of water places these

residents and members of their communities, including schools, workplaces, and

other shared spaces, at risk of contracting bodily illnesses, including COVID-19.

         2.    Detroit has had a water affordability crisis for decades.1 While water is

generally considered “affordable” when families spend no more than 2% to 2.5% of

their household incomes for water services,2 low-income Detroit residents must pay




1
   Detroit’s water affordability crisis began in the early 2000s. See, e.g., Jason
Amirhadji et al., Geo. Law Hum. Rts. Inst., Tapped Out: Threats to the Human Right
to     Water     in    the    Urban      United    States   24      (Apr.   2013),
https://www.law.georgetown.edu/human-rights-institute/wp-
content/uploads/sites/7/2017/07/Tapped-Out.pdf (citing Jesu Estrada, The Struggle
for Water in Detroit: An Interview with Marian Kramer, People’s Tribune (Mar. 6,
2009), http://www.peoplestribune.org/PT.2009.03/PT.2009.03.06.html).
2
  See, e.g., Office of Water, U.S. Envtl. Prot. Agency, Report to Congress: Small
Systems       Arsenic      Implementation       Issues    4      (Mar.     2002),
https://nepis.epa.gov/Exe/ZyPdf.cgi?Dockey=20001ZJL.txt; U.S. Envtl. Prot.
Agency, EPA Sci. Advisory Bd., Econ. Envtl. Comm., EPA-SAB-EEAC-03-004,
Affordability Criteria for Small Drinking Water Systems 4 (Dec. 2002),
https://yosemite.epa.gov/sab/SABPRODUCT.NSF/38385976FDAF17FF852571E
F0041243D/$File/eeac03004.pdf; see also Stratus Consulting, Affordability
Assessment       Tool    for     Federal     Water      Mandates     4    (2013),
https://www.awwa.org/Portals/0/AWWA/ETS/Resources/AffordabilityAssessment
Tool.pdf.

                                            3
    Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.4 Filed 07/09/20 Page 4 of 101




an average of 10% of their household incomes on water,3 and some pay much more.4

As a result, many families in Detroit struggle to pay their water bills.

         3.    When customers’ water bills go unpaid, DWSD, a department of the

City of Detroit, disconnects their service without first determining whether

customers have the means to pay their bills. The looming resumption of water

shutoffs will exacerbate an existing public health emergency in Detroit absent this

Court’s intervention.

         4.    Between 2014 and 2019, more than 141,000 households in Detroit had

their water service disconnected for non-payment.5 Some families live for years

without water service in their homes after a disconnection by DWSD. Others are

trapped in a cycle of water insecurity with repeated disconnections and




3
  Dahlia Rockowitz et al., Household Water Security in Metropolitan Detroit:
Measuring the Affordability Gap, Univ. of Mich. Poverty Sols. (Aug. 2018),
https://poverty.umich.edu/10/files/2018/08/PovertySolutions-PolicyBrief-0818-
r2.pdf.
4
  See, e.g., Cria Kay et al., Water Insecurity in Southeast Michigan: The Impacts of
Unaffordability and Shutoffs on Resident Wellbeing (Apr. 2018), Univ. of Mich. Sch.
for                    Env’t                     and                  Sustainability,
https://deepblue.lib.umich.edu/bitstream/handle/2027.42/143169/Roadmap%20to
%20Water%20Security_320%20%281%29.pdf?sequence=1&isAllowed=y.
5
 Joel Kurth & Mike Wilkinson, I Hate to Complain, but I Haven’t Had Water in a
Year.    A    Detroit     Story., Bridge   Magazine      (Feb.   17,    2020),
https://www.bridgemi.com/michigan-health-watch/i-hate-complain-i-havent-had-
water-year-detroit-story.

                                           4
    Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.5 Filed 07/09/20 Page 5 of 101




reconnections. These water insecure families risk losing service at any time because

of their inability to pay DWSD’s rates.

          5.   In 2014, Detroit disconnected water service to approximately 44,000

households for non-payment of bills.6 In 2018, Detroit disconnected water service

from more than 16,000 households.7 In 2019, shutoffs rose again to a total of

23,473.8 As of January 2020, approximately 9,500 homes in Detroit were reportedly

still without water service.9

          6.   Families without water service in their homes are susceptible to

infection. Through the years, Detroit’s water shutoff policy has resulted in outbreaks

of various forms of infectious diseases, as well as other threats to the health of

affected families resulting from such things as the inability of people with diabetes

to prepare medically necessary meals, the inability of parents to prepare infant

formula, dehydration, and various other health consequences associated with the

lack of water. Families without water service are also at risk of involvement with



6
 Kat Stafford, Controversial Water Shutoffs Could Hit 17,461 Detroit Households,
Detroit          Free          Press           (Mar.         26,          2018),
https://www.freep.com/story/news/local/michigan/detroit/2018/03/26/more-than-
17-000-detroit-households-risk-water-shutoffs/452801002/.
7
    Kurth & Wilkinson, supra note 5.
8
    Id.
9
    Id.

                                          5
 Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.6 Filed 07/09/20 Page 6 of 101




Child Protective Services, as the lack of running water is a factor in determining

whether parents are providing a suitable home for their children.10 In many cases,

individuals who live without water service in their homes have become carriers of

disease, infecting others within their physical proximity. This has created a public

health emergency in Detroit.

      7.    Despite repeated, consistent demands for remedial action by affected

communities and their advocates, including Plaintiff People’s Water Board

Coalition, Defendants’ response to this public health emergency has been woefully

inadequate and appallingly weak. Defendants have failed to implement a program to

ensure that Detroit’s water insecure population has long-term access to affordable

water and Defendant Detroit has continued to employ water shutoffs as a collection

method despite the known risks of living without water.

      8.    The public health emergency caused by Detroit’s water shutoff policy

has been exacerbated by the current pandemic.

      9.    Water shutoffs disproportionately impact Detroit’s Black and low-

income residents. Detroit is a predominantly Black city and has a significant




10
   Mich. Dep’t of Health & Human Servs., Assessments: Section 1: Safety
Assessment,        Number      9,     6,       (Feb.    1,       2019),
https://dhhs.michigan.gov/OLMWEB/EX/PS/Public/PSM/713-
11.pdf#pagemode=bookmarks.


                                         6
 Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.7 Filed 07/09/20 Page 7 of 101




population of impoverished residents. According to data reported by the U.S. Census

Bureau, as of July 2019, the population of Detroit was 670,031.11 Approximately

79% of the city’s population is Black and nearly 15% is white.12 In Detroit, 36.4%

of the population is impoverished.13 Black people comprise the largest percentage of

impoverished or low-income residents of Detroit.14

           10.   Detroit is the epicenter of COVID-19 infections within Wayne County.

As of May 15, 2020, Detroit’s confirmed cases were concentrated in predominantly

Black and lower-income neighborhoods.15 According to the Brookings Institution,

90% of the city’s zip codes with the highest number of confirmed cases have


11
    U.S. Census Bureau, QuickFacts: Detroit City, Michigan (July 2019),
https://www.census.gov/quickfacts/detroitcitymichigan.
12
     Id.
13
     Id.
14
  See, e.g., New Detroit, Metropolitan Detroit Race Equity Report 26-28 (Mar.
2014),                                          https://www.newdetroit.org/wp-
content/uploads/2017/05/MetropolitanDetroit_RaceEquity_Report_NewDetroit.pdf
.
15
   Makada Henry-Nickie & John Hudak, Social Distancing in Black and White
Neighborhoods in Detroit: A Data-driven Look at Vulnerable Communities,
Brookings       Inst.:      Fixgov       Blog        (May        19,      2020),
https://www.brookings.edu/blog/fixgov/2020/05/19/social-distancing-in-black-
and-white-neighborhoods-in-detroit-a-data-driven-look-at-vulnerable-
communities/; see also John C. Austin, COVID-19 is Turning the Midwest’s Long
Legacy of Segregation Deadly, Brookings Inst.: The Avenue Blog (Apr. 17, 2020),
https://www.brookings.edu/blog/the-avenue/2020/04/17/covid-19-is-turning-the-
midwests-long-legacy-of-segregation-deadly/.

                                            7
 Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.8 Filed 07/09/20 Page 8 of 101




populations that are at least 80% Black.16 Data compiled by the City of Detroit shows

that Black people account for 82.1% of COVID-related deaths in the city.17 As of

late May 2020, Wayne County had the fifth highest death toll from COVID-19 in

the country.18

        11.   Since the COVID-19 crisis began, Defendants and other government

officials have admonished members of the public to engage in regular handwashing

to prevent infection and the spread of disease. Yet, through its water shutoff policy,

Detroit has made handwashing a practical impossibility for thousands of families in

the city for nearly 20 years.19

        12.   The arrival of COVID-19 signaled catastrophe for Detroit communities

that were unable to engage in defensive or preventive handwashing and other

cleaning measures because of the lack of water service in their homes. The rates of


16
     Henry-Nickie & Hudak, supra note 15.
17
    Detroit Health Dep’t, COVID-19 Dashboard (updated July 7, 2020),
https://codtableau.detroitmi.gov/t/DHD/views/CityofDetroit-
PublicCOVIDDashboard/DemographicCasesDashboard?%3AisGuestRedirectFro
mVizportal=y&%3Aembed=y.
18
  Miriam Marini, Michigan Reports 5 Coronavirus Deaths Sunday, Lowest Single-
day Report Since March, Detroit Free Press (May 24, 2020),
https://www.freep.com/story/news/local/michigan/2020/05/24/michigan-reports-
fewest-daily-coronavirus-deaths-since-march/5253290002/.
19
  See Estrada, supra note 1 (noting that 40,700 people in Detroit were without water
service in 2001-2002, leading to local advocacy to try to halt Detroit’s water shutoff
policy).

                                          8
 Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.9 Filed 07/09/20 Page 9 of 101




infection in Detroit outpaced all other regions in the State of Michigan as well as

many regions throughout the country.

         13.     Through its Water Restart Plan and Governor Whitmer’s Executive

Order (“EO”) 2020-28,20 Detroit has been required since March 2020 to halt its water

shutoff policy and restore water service to all customers previously disconnected for

non-payment. On July 8, 2020, Defendant Whitmer rescinded EO 2020-28 and

replaced it with EO 2020-144, which requires the restoration of water service to

customers for non-payment until December 31, 2020.21 However, Defendant

Whitmer has not taken the actions necessary to ensure long-term water affordability

and access in Detroit. In fact, EO 2020-144 specifies that it does not relieve a

customer of the obligation to pay for water, prevent a public water supply from

charging any customer for water service, or reduce the amount a resident may owe

to a public water supply.22



20
      Mich. Exec. Order 2020-28 (COVID-19) (Mar. 28, 2020),
http://www.legislature.mi.gov/documents/2019-2020/executiveorder/pdf/2020-EO-
28.pdf; Press Release, City of Detroit Water & Sewerage Dep’t, Mayor Duggan,
Governor Whitmer and DWSD Announce Coronavirus Water Restart Plan (Mar. 9,
2020),     https://detroitmi.gov/news/mayor-duggan-governor-whitmer-and-dwsd-
announce-coronavirus-water-restart-plan [hereinafter Water Restart Plan].
21
         Mich.      Exec.      Order     2020-144     (July      8,     2020),
https://content.govdelivery.com/attachments/MIEOG/2020/07/08/file_attachments/
1491227/EO%202020-144.pdf.
22
     Id. at 2.

                                          9
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.10 Filed 07/09/20 Page 10 of 101




           14.   Additionally, while EO 2020-28 was in effect, she failed to ensure that

municipalities like Detroit were in compliance with the order.

           15.   In June 2020, the Michigan Legislature passed a bill that will, among

other appropriations, grant $25 million to water utility providers across the state to

assist customers with arrearages and fees incurred during the COVID-19

pandemic.23 This assistance is limited to $700 per household.24 It provides no relief

to customers for arrearages incurred prior to the COVID-19 pandemic or after

December 2020, nor any long-term relief for Detroit’s water insecure population.

Governor Whitmer signed the bill into law on July 1, 2020, but Defendant Detroit

has not indicated whether it will participate in the program.

           16.   Defendants Detroit, Duggan, and Brown failed to fully comply with EO

2020-28 and restore water service to all customers previously disconnected for non-

payment during the COVID-19 pandemic. Upon information and belief, some

families in Detroit still lack water service as of the date of this filing, while the

pandemic continues to threaten the health of city residents. Consequently,

Defendants Detroit, Duggan, and Brown are also currently out of compliance with

EO 2020-144, which replaced EO 2020-28. Further, Defendant Duggan has


23
  Mich. Senate Bill 0690 (2019), http://legislature.mi.gov/doc.aspx?2019-SB-
0690.
24
     Id.

                                            10
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.11 Filed 07/09/20 Page 11 of 101




announced that Detroit will resume water shutoffs for customers who cannot keep

up with their bill payments after the coronavirus crisis has passed.25

      17.    By creating conditions that contribute to and threaten the introduction

of infectious disease by knowingly and purposefully preventing many Detroit

residents from washing their hands, flushing their toilets, and cleaning their homes,

Defendants have caused and continue to cause disastrous consequences for Plaintiffs

and thousands of similarly situated individuals.

      18.    Plaintiffs   bring this   action   for injunctive, declaratory, and

compensatory relief under the Due Process Clause of the 14th Amendment to the

U.S. Constitution, alleging that Defendants have violated their rights to substantive

due process. In particular, Plaintiffs allege that Defendants deliberately and

knowingly breached the constitutionally protected bodily integrity of Plaintiffs

through their deliberate indifference to the known risks of living without water

service that could, did, and will cause harm to Plaintiffs. Plaintiffs also allege

Defendants Detroit, Duggan, and Brown have violated their rights to substantive due

process under the Michigan Constitution of 1963 by these actions.




25
   Sarah Cwiek, Detroit Announces Expanded Testing Plans, Stimulus Money for
Struggling   Residents,     Mich.     Radio     NPR     (Apr.     27,    2020),
https://www.michiganradio.org/post/detroit-announces-expanded-testing-plans-
stimulus-money-struggling-residents.

                                         11
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.12 Filed 07/09/20 Page 12 of 101




      19.    Plaintiffs also bring this action for injunctive, declaratory, and

compensatory relief under the equal protection guarantees of the 14th Amendment

to the U.S. Constitution and the Michigan Constitution of 1963, alleging that

Defendant Detroit has violated their equal protection rights by disconnecting the

water service of predominately Black impoverished customers without first

determining whether they have the ability to pay.

      20.    Plaintiffs further bring this action for injunctive, declaratory, and

compensatory relief pursuant to the FHA and the ELCRA, alleging that Defendant

Detroit’s water shutoff policy has a disproportionate and unjustified impact on Black

residents.

      21.    From January 2017 to July 2018, 95% of residential water shutoffs

occurred in Census tracts with a population that was greater than 50% Black.

Additionally, from January 2019 to January 2020, 96% of residential water shutoffs

occurred in zip codes with a population greater than 50% Black. These disparities

persist even when controlling for differences in income and the number of

unoccupied homes in Detroit.

      22.    Defendant Detroit’s policy of disconnecting water service to customers

for non-payment causes Black residents to disproportionately experience water

shutoffs, forcing them to live without water service in their homes.




                                         12
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.13 Filed 07/09/20 Page 13 of 101




      23.    Through its water shutoff policy, Defendant Detroit discriminates

against Black residents in violation of the FHA and ELCRA.

                         JURISDICTION AND VENUE

      24.    This Court has jurisdiction over this suit pursuant to 28 U.S.C. §§ 1331,

1343(a)(3), 1343(a)(4), 1367(a), and 2201 and 42 U.S.C. § 3613(a).

      25.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because all

incidents, events, and occurrences giving rise to this action occurred in the Eastern

District of Michigan.

                                     PARTIES

Plaintiffs

      26.    Plaintiff Jacqueline Taylor is a resident of Detroit, Michigan. She is

Black. At all times relevant to her allegations herein, Ms. Taylor was a resident of

Detroit in Wayne County and a citizen of the United States. She is a customer of

DWSD.

      27.    Plaintiff Lisa Brooks is a resident of Detroit, Michigan. She is Black.

At all times relevant to her allegations herein, Ms. Brooks was a resident of Detroit

in Wayne County and a citizen of the United States. She is a customer of DWSD.

      28.    Plaintiff Michele Cowan is a resident of Detroit, Michigan. She is

Black. At all times relevant to her allegations herein, Ms. Cowan was a resident of

Detroit in Wayne County and a citizen of the United States. She and her daughter


                                         13
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.14 Filed 07/09/20 Page 14 of 101




are customers of DWSD.

      29.    Plaintiff Tuana Henry is a resident of Detroit, Michigan. She is Black.

At all times relevant to her allegations herein, Ms. Henry was a resident of Detroit

in Wayne County and a citizen of the United States. She is a customer of DWSD.

      30.    Plaintiff Mattie McCorkle is a resident of Detroit, Michigan. She is

Black. At all times relevant to her allegations herein, Ms. McCorkle was a resident

of Detroit in Wayne County and a citizen of the United States. She is a customer of

DWSD.

      31.    Plaintiff Renee Wilson is a resident of Detroit, Michigan. She is Black.

At all times relevant to her allegations herein, Ms. Wilson was a resident of Detroit

in Wayne County and a citizen of the United States. She is a customer of DWSD.

      32.    Plaintiff People’s Water Board Coalition is a Michigan-based nonprofit

organization with a mission of advocating for water access, affordability, and

sanitation for all state residents. Its members include residential customers of DWSD

and other organizations advocating for water affordability and sanitation.

Defendants

      33.    Defendant City of Detroit is a Michigan municipal corporation located

in Wayne County, Michigan. It is a home rule city organized under PA 279 of 1909,

as amended, the Home Rule City Act, Mich. Comp. Laws Ann. § 117.1, et seq. It

provides water and sewerage service to residents through DWSD, its agent.


                                         14
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.15 Filed 07/09/20 Page 15 of 101




      34.    Defendant Governor Gretchen Whitmer, in her official capacity as

Governor of the State of Michigan, is charged with ensuring the health and safety of

the people of Michigan by effectively addressing public emergencies and ensuring

compliance with her executive orders.

      35.    Defendant Michael Duggan, in his official capacity as Mayor of the

City of Detroit, is charged with ensuring the health and safety of the people of the

City of Detroit.

      36.    Defendant Gary Brown, in his official capacity as Director of DWSD,

is charged with ensuring that the water services provided to DWSD customers do

not jeopardize their health and safety.

                           FACTUAL ALLEGATIONS

Detroit’s Water System

      37.    In the first half of the 20th century, Detroit—the epicenter of the

American automotive manufacturing industry—was a magnet for Black southerners

relocating to the city during the Great Migration for better economic opportunities

and freedom from the discrimination they suffered in the Jim Crow South.26




26
   Growing Detroit’s African-American Middle Class: The Opportunity for a
Prosperous         Detroit,    Detroit      Future      City (Feb. 2019),
https://detroitfuturecity.com/middleclassreport/#middle-in.

                                          15
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.16 Filed 07/09/20 Page 16 of 101




      38.   By 1950, Detroit boasted the most prosperous Black community in the

country, as measured by earnings and family income.27

      39.   However, Detroit’s troubled racial history and the automotive

industry’s downturn led to the city’s economic decline.28 In particular, racially

discriminatory housing practices contributed to the city’s economic collapse. For

example, the large-scale migration of white Detroit residents to the suburbs

beginning in the 1960s—largely driven by fears of Black families moving into

predominately white neighborhoods—contributed to the erosion of Detroit’s tax

base.29 Redlining and other discriminatory lending practices contributed and

continue to contribute to the racial wealth gap and the decline of Black

homeownership in Detroit.30 In addition, Detroit residents lost homes en masse due


27
   Reynolds Farley, The Bankruptcy of Detroit: What Role did Race Play?, 14 City
&            Comm.             118,           124          (June          2015),
https://deepblue.lib.umich.edu/bitstream/handle/2027.42/112014/cico12106.pdf?se
quence=1&isAllowed=y.
28
   Sharon Cohen, Detroit’s Downfall: Decline of Autos, Troubled Racial History
Blamed      for    City’s   Decline,     Star     Trib.    (July    21, 2013),
https://www.startribune.com/autos-troubles-race-at-root-of-detroit-
collapse/216349491/.
29
  Brad Lander & Karl Kumodzi, How Cities’ Funding Woes Are Driving Racial and
Economic Injustice—And What We Can Do About It, The Nation (Apr. 28, 2015),
https://www.thenation.com/article/archive/how-cities-funding-woes-are-driving-
racial-and-economic-injustice-and-what-we-can-do/.
30
 Aaron Glantz & Emmanuel Martinez, Detroit-area Blacks Twice as Likely to Be
Denied    Home     Loan,    Detroit     News       (Feb.     15,      2018),

                                       16
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.17 Filed 07/09/20 Page 17 of 101




to tax foreclosures, as 155,171 properties—mostly concentrated in Black

communities—were brought to tax auction between 2003 and 2017.31

        40.   On July 18, 2013, when it alleged that it faced more than $18 billion in

present and future debt, Detroit filed for bankruptcy protection, making it the largest

American city ever to do so.32

        41.   Prior to the bankruptcy filing, then-Governor Rick Snyder appointed an

“emergency manager” in March 201333 to manage Detroit’s fiscal problems pursuant

to a state law that authorizes Michigan’s governors to appoint individuals to perform

the functions of local government for municipalities determined to be in financial

distress.34




https://www.detroitnews.com/story/business/real-estate/2018/02/15/red-lining-
home-loans/110436482/.
31
   Carl Hedman & Rolf Pendall, Rebuilding and Sustaining Homeownership for
African Americans, Urban Inst., Se. Mich. Hous. Futures, Brief 3, 1-2 (June 2018),
https://www.urban.org/sites/default/files/publication/98719/rebuilding_and_sustain
ing_homeownership_for_african_americans.pdf.
32
   Monica Davey & Mary Williams Walsh, Billions in Debt, Detroit Tumbles Into
Insolvency,        N.Y.        Times            (July         18,        2013),
https://www.nytimes.com/2013/07/19/us/detroit-files-for-bankruptcy.html.
33
   Chris Isidore, Detroit, in Financial Trouble, Gets Emergency Manager, CNN
Business                     (Mar.                   14,                2013),
https://money.cnn.com/2013/03/14/news/economy/detroit-emergency-
manager/index.html.
34
     Mich. Comp. Laws Ann. § 141.1549.

                                          17
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.18 Filed 07/09/20 Page 18 of 101




         42.    In 2014, Detroit’s emergency manager, as part of his purported efforts

to address the city’s fiscal challenges, attempted to privatize Detroit’s water

operations by selling the facilities and operations of DWSD. DWSD increased use

of water shutoffs as a collection method to eliminate delinquent water accounts, and

thereby make the utility a more attractive product for potential buyers.

         43.    A sale did not occur because of Detroit’s bankruptcy, and court-

supervised negotiations between the state, city, and suburban counties resulted in the

creation of Great Lakes Water Authority (“GLWA”). That entity was designated as

a “public body corporate” and it ultimately became the hub of a regional water

system that included the City of Detroit, Wayne County, Oakland County, and

Macomb County.

         44.    GLWA leases Detroit’s water system from the city and uses Detroit’s

water and sewer infrastructure to extend service to neighboring suburban counties.

Water Rates and Assistance Programs in Detroit

         45.    For years, Detroit residents have suffered from the lack of access to

affordable water. While water is generally considered “affordable” when families

spend no more than 2% to 2.5% of their household incomes for water services,35

low-income Detroit residents must pay an average of 10% of their household



35
     See, e.g., supra note 2.

                                           18
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.19 Filed 07/09/20 Page 19 of 101




incomes on water,36 and some must pay much more.37 As a result, many families in

Detroit struggle to pay their water bills.

           46.   In response to public complaints that a high poverty rate in Detroit

guarantees widespread termination of water service, Defendants have established or

used water assistance programs that they know to be ineffective, and which ensure

a chronic lack of access to water to low income families. These programs include

the “10-30-50” program, and the Water Residential Assistance Program (“WRAP”),

which is financed by GLWA.

           47.   Pursuant to the 10-30-50 program, a customer makes a down payment

of 10%, 30%, or 50% of the past due balance.38 The percentage is based on the

number of payment plans the customer entered into over the last 18 months; first

time is 10%, second time is 30%, third time or more is 50%.39 The balance of the

past due amount is equally spread over a six to 24-month period which the customer

pays in addition to the normal monthly bill (months are determined by the balance




36
     See Rockowitz et al., supra note 3.
37
     See Kay et al., supra note 4.
38
     City of Detroit Water & Sewerage Dep’t, Payment Plan,
https://detroitmi.gov/departments/water-and-sewerage-department/bill-assistance-
and-credits/payment-plan (last visited July 7, 2020).
39
     Id.

                                             19
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.20 Filed 07/09/20 Page 20 of 101




owed).40 All payments must be made in full and on time to stay in the plan, and there

are no income restrictions to qualify.41 Upon information and belief, DWSD has

discretion to determine whether a customer is eligible for enrollment into the 10-30-

50 program and does not purport to consider a customer’s indigency or ability to pay

to determine eligibility.

           48.   Launched on March 1, 2016, WRAP provides qualifying customers

who are at or below 150% of the federal poverty threshold with a $25 monthly credit

toward current bills with any past-due or arrearages frozen for 12 months.42 DWSD

customers who successfully make their monthly payments for one year receive up

to $700 in credit toward their past due bill.43 The WRAP program only provides

customers with two years of assistance. Thereafter, customers must pay the full

amount of their bills. Upon information and belief, DWSD has discretion to

determine whether a customer is eligible for enrollment into WRAP and does not

inquire into a customer’s ability to pay to determine eligibility.



40
     Id.
41
     Id.
42
   Community Action Alliance Water Residential Assistance Program, City of
Detroit Water and Sewerage Department Frequently Asked Questions,
https://detroitmi.gov/sites/detroitmi.localhost/files/2018-
02/WRAP%20FAQ_2.pdf.
43
     Id.

                                          20
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.21 Filed 07/09/20 Page 21 of 101




      49.      Both the 10-30-50 program and WRAP are designed to provide limited,

short-term assistance to families facing temporary financial instability. Neither

program makes water service affordable for families facing chronic poverty, who

are not able to pay for water at market rates.

      50.      Water affordability advocates, including Plaintiff People’s Water

Board Coalition and its member organizations, have repeatedly urged Defendants to

adopt a program that will make water affordable for everyone—specifically, a

program that indexes billing to actual household income. Defendants have

repeatedly rejected such programs since at least 2005, including a water affordability

plan proposed by a member organization of Plaintiff People’s Water Board

Coalition.44

Detroit’s Water Shutoff Policy

      51.      Defendants City of Detroit, Duggan, and Brown have persisted in the

practice of employing water shutoffs as a collection method with full knowledge that

many households subject to termination cannot afford to pay market rates for water

service.

      52.      Detroit Ordinance § 48-1-44 authorizes the Detroit Board of Water


44
   Roger Colton, A Water Affordability Program for the Detroit Water and Sewerage
Department                    (DWSD)                   (Jan.                2005),
http://www.fsconline.com/downloads/Papers/2005%2001%20Detroit%20Water.pd
f; see also Estrada, supra note 1.

                                          21
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.22 Filed 07/09/20 Page 22 of 101




Commissioners and its officers, agents, or employees to discontinue water service

to any building or premises for any water rates, assessments, or charges that are

delinquent.

           53.   DWSD’s procedures regarding discontinuation and termination of

water service are set forth in its “Interim Collection Rules and Procedures.”45

Defendant Detroit has previously asserted that the Interim Rules are no longer in

place. Upon information and belief, no subsequent collection rules and procedures

have been approved for use by DWSD. However, DWSD has posted a one paragraph

summary of its policies on its website (“Customer Policies”).46 For purposes of this

Complaint, both the Interim Rules and Customer Policies are described below.

           54.   Rule 1(1) of the Interim Collection Rules and Procedures provides that

residential customers are billed quarterly.47 Rule 1(2) requires DWSD to mail bills

to customers at least 20 days before the due date.48 Rule 6(2)(a)-(b) provides that a

customer who fails to pay their bill by the due date is issued a “Past Due Notice” 11



45
  City of Detroit Water & Sewerage Dep’t, Interim Collection Rules and Procedures
(revised Jan. 22, 2003) (attached as Exhibit 1) [hereinafter Interim Rules].
46
     City of Detroit Water & Sewerage Dep’t, Customer Policies,
https://detroitmi.gov/departments/water-and-sewerage-department/customer-
care/customer-policies [hereinafter Customer Policies].
47
     Interim Rules, supra note 45, at 1. Customers are now billed on a monthly basis.
48
     Id.

                                            22
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.23 Filed 07/09/20 Page 23 of 101




days after the due date and a “WATER SHUT OFF-FINAL NOTICE” 32 days after

the billing date.49

         55.      Rule 19 of the Interim Collection Rules and Procedures authorizes

DWSD to discontinue a customer’s service if a bill is not paid within 10 days of the

date specified as the “Notice Date” on the “WATER SHUT OFF-FINAL

NOTICE.”50

         56.      Rule 24 of the Interim Collection Rules and Procedures authorizes

DWSD to shut off water service to a customer for non-payment for a delinquent

balance, provided that DWSD notified the customer of a delinquency and made

diligent efforts to have the customer pay the outstanding or delinquent balance,

either in whole or through a reasonable payment plan agreement (“PPA”).51

         57.      Rule 27 of the Interim Collection Rules and Procedures authorizes

DWSD to negotiate a reasonable PPA with a customer when “extenuating

circumstances” exist and payment cannot be made in full.52

         58.      DWSD’s Customer Policies contain limited information about its water

shutoff procedures. The policies state, in relevant part, “[c]ustomers are responsible


49
     Id. at 3.
50
     Id. at 9.
51
     Id. at 11-12.
52
     Id. at 13.

                                            23
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.24 Filed 07/09/20 Page 24 of 101




for paying bills on time and in full. As part of DWSD’s continuing efforts to keep

rates low, customers who fail to keep their accounts current will be issued a final

notice to pay the past-due bill. Service interruptions procedures begin if payment has

not been received by the due date stated in the Final Notice.”53

           59.   DWSD’s Customer Policies direct customers who have difficulty

paying their past due balance to the 10-30-50 program and WRAP.54 The Customer

Policies do not mention PPAs or whether DWSD considers a customer’s ability to

pay prior to disconnecting their service.55 Upon information and belief, the Interim

Rules pertaining to PPAs have been substituted by the 10-30-50 program.

           60.   DWSD previously hung notices on customers’ doors that informed

them of an impending service disconnection no later than seven days prior to the

disconnection, pursuant to an informal policy. However, upon information and

belief, DWSD no longer hangs such notices on customers’ doors.

           61.   DWSD’s physical offices are currently closed to the public and

customers are left with limited options to enroll in the 10-30-50 program or WRAP.

Upon information and belief, customers are allowed to enroll in these water

assistance programs only via telephone. Many customers must wait an inordinate


53
     Customer Policies, supra note 46.
54
     Id.
55
     Id.

                                         24
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.25 Filed 07/09/20 Page 25 of 101




amount of time before talking with a customer representative about enrolling in an

assistance program or are disconnected from their phone call before being able to do

so. Additionally, many low-income residents of Detroit use prepaid cell phones with

a set number of usable minutes per month. Being on hold with DWSD to obtain

assistance is a financial burden many cannot afford.

        62.    Upon information and belief, DWSD disconnects water service to many

of its customers without first attempting to determine their ability to pay.

        63.    Between 2014 and 2019, more than 141,000 households in Detroit had

their water service disconnected for non-payment.56 Some families live for years

without water service in their homes after a disconnection by DWSD. Others are

trapped in a cycle of water insecurity with repeated disconnections and

reconnections. These families risk losing water service at any time because of their

chronic poverty and inability to pay DWSD’s rates for water services.

        64.    After disconnecting customers’ water service, DWSD directs its

contractors to spray bright blue paint on the water cap or sidewalk in front of

customers’ homes to indicate that service has been or soon will be disconnected at




56
     Kurth & Wilkinson, supra note 5.

                                          25
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.26 Filed 07/09/20 Page 26 of 101




the property.57 The spray paint is a source of humiliation and embarrassment for

affected residents and their neighbors, as it serves no discernable purpose other than

to constantly remind the community that the residents do not have water.

           65.   In 2018, DWSD disconnected water service from more than 16,000

households.58 In 2019, shutoffs rose again to a total of 23,473.59 As of January 2020,

approximately 9,500 homes in Detroit were reportedly still without water service.60

           66.   Detroit has a reported history of disconnecting service to residential

water customers with relatively low unpaid bills while failing to disconnect service

to commercial and governmental customers with much larger outstanding

balances.61




57
   See Behind Detroit’s Grim Blue Graffiti, Zocola Public Square (May 28, 2015),
https://www.zocalopublicsquare.org/2015/05/28/behind-detroits-grim-blue-
graffiti/viewings/glimpses/.
58
     Kurth & Wilkinson, supra note 5.
59
     Id.
60
     Id.
61
   See Violet Ikonomova, More Than 17,000 Detroit Homes Face Water Shutoffs,
Official Says ‘The Problem is Poverty’, Detroit Metro Times (Mar. 26, 2018),
https://www.metrotimes.com/news-hits/archives/2018/03/26/more-than-17000-
detroit-homes-face-water-shutoffs-official-says-the-problem-is-poverty; Joel Kurth,
Detroit Hits Residents on Water Shut-offs as Businesses Slide, Detroit News (Mar.
31,          2016),         https://www.detroitnews.com/story/news/local/detroit-
city/2016/03/31/detroit-water-shutoffs/82497496/.

                                            26
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.27 Filed 07/09/20 Page 27 of 101




      67.    One recent report found that water shutoffs are an ineffective method

of incentivizing customers to pay, as many low-income customers are willing to pay

for service but are unable to do so given the increasing burden of water costs,

particularly in Detroit.62

Prior Advocacy to Halt Shutoffs

      68.    In July 2019, civil rights lawyers filed an administrative complaint with

the Michigan Department of Health and Human Services (“MDHHS”), urging the

agency to require DWSD to suspend water shutoffs to avoid a public health

emergency.63 The petition raised two questions: (1) whether mass water shutoffs are

an “imminent danger” as defined by Michigan law (Mich. Comp. Laws Ann.

§ 333.2251), requiring the health director to take “immediate action” to suspend

shutoffs; and (2) whether the spread of water-borne illness constitutes an “epidemic”

as defined by state law (Mich. Comp. Laws Ann. § 333.2253), requiring the health

director to suspend water shutoffs in order to “insure continuation of essential public


62
   See Water Equity and Security in Detroit’s Water and Sewer District, Haas Inst.
for       a        Fair      and        Inclusive        Soc’y       (Jan.      2019),
https://haasinstitute.berkeley.edu/sites/default/files/detroit_water_equity_full_repor
t_jan_11_2019.pdf.
63
   Press Release, ACLU of Michigan, Civil Rights Coalition Files Petition Urging
the Michigan Department of Health and Human Services to Suspend Detroit Water
Shutoffs to Avoid Public Health Emergency (July 23, 2019),
https://www.aclu.org/press-releases/civil-rights-coalition-files-petition-urging-
michigan-department-health-and-human.

                                          27
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.28 Filed 07/09/20 Page 28 of 101




health services.”64 The petition was supported by scientific studies that demonstrated

a correlation between the lack of access to water and the spread of disease.65 The

petition also emphasized that water is a necessity of life, and without water for

drinking, cooking, cleaning, and bathing, people are certain to become ill and

eventually die.

      69.    In September 2019, MDHHS denied the petition, stating that water

shutoffs do not rise to the level of an imminent danger because there is no causal

association between shutoffs and water-borne disease.66 In making this

determination, MDHSS did not address the multiple scientific studies reaching the

opposite conclusion.




64
   ACLU of Mich., Request for MDHHS Declaratory Ruling (July 23, 2019)
(attached as Exhibit 2).
65
   Id. at 7-9 (citing, e.g., Alexander Plum et al., The Impact of Geographical Water
Shutoffs on the Diagnosis of Potentially Water-associated Illness, with the Role of
Social Vulnerability Examined, The Henry Ford Global Health Initiative (Apr. 8,
2017),
http://mediad.publicbroadcasting.net/p/michigan/files/201707/water_shutoffs_and_
illnesses.pdf; George Gaines, Three Waterborne Outbreaks in Detroit (2016 &
2017),        The        People’s      Water        Bd.     (July     14,     2018),
https://www.peopleswaterboard.org/wp-
content/uploads/2018/07/DetInfDisease.pdf).
66
    Letter re Request for Declaratory Ruling from Robert Gordon, Director of
MDHHS, to Mark Fancher, ACLU of Mich. (Sept. 23, 2019) (attached as Exhibit
3).

                                         28
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.29 Filed 07/09/20 Page 29 of 101




        70.    In response, lawyers directed the petition to Defendant Whitmer,

requesting that she effectively overrule MDHHS.

        71.    Defendant Whitmer has a duty to address public emergencies pursuant

to Michigan law. The Michigan Emergency Management Act provides: “[t]he

governor is responsible for coping with dangers to this state or the people of this

state presented by a disaster or emergency.”67

        72.    The Michigan Emergency Management Act also grants the Governor

the authority and capacity to direct local authorities to use local resources to cope

with a disaster or emergency.68

        73.    Despite these enumerated powers, on February 21, 2020, the

Governor’s counsel declined to use her emergency powers to overrule MDHHS’s

denial of the petition.69 The Governor’s response stated that she supports efforts to

increase funding for WRAP and that she was requesting that MDHHS coordinate

WRAP with the State Emergency Relief (“SER”) program.70


67
     Mich. Comp. Laws Ann. § 30.403(1).
68
     Mich. Comp. Laws Ann. § 30.405(1)(b), (j).
69
   Christine Ferretti, State: ‘Insufficient’ Data to Support Ban on Water Shutoffs in
Detroit,          Detroit            News            (Feb.        26,         2020),
https://www.detroitnews.com/story/news/local/detroit-city/2020/02/26/state-
insufficient-data-support-moratorium-detroit-shutoffs/4881623002/.
70
  Id. The program’s website states that “[t]he SER program is not an appropriate
solution to ongoing or chronic financial difficulties.” MDHHS, Assistance

                                          29
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.30 Filed 07/09/20 Page 30 of 101




         74.   Defendant Whitmer’s response did not acknowledge the multiple

scientific studies establishing a correlation between the lack of access to water and

the spread of disease or the chronic poverty of Detroit’s water insecure population.

Executive Orders 2020-28 and 2020-144

         75.   On March 9, 2020, in anticipation of the coronavirus outbreak and just

weeks after she declined to overrule MDHHS’s decision, Defendant Whitmer

announced with Defendant Duggan the Coronavirus COVID-19 Water Restart Plan,

which provided for a moratorium on shutoffs and, purportedly, reconnection of all

water service in Detroit during the pandemic.71 In announcing the plan and

recognizing “the importance of handwashing,” Defendant Whitmer and Defendant

Duggan proclaimed that “no resident of the city of Detroit [should have] their water

shut off for lack of funds.”72




Programs,        Emergency  Relief:    Home,     Utilities  &       Burials,
https://www.michigan.gov/mdhhs/0,5885,7-339-71547_5531-15407--,00.html (last
visited July 8, 2020).
71
     Water Restart Plan, supra note 20.
72
   Ariana Taylor, Detroit Mayor Rolls Out Plan to Stop Water Shutoffs Amid
Coronavirus       Fears,      Detroit      News         (Mar.      9,      2020),
https://www.detroitnews.com/story/news/local/detroit-city/2020/03/09/detroit-
mayor-rolls-out-plan-stop-water-shutoffs-amid-coronavirus-fears/5000160002/.

                                          30
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.31 Filed 07/09/20 Page 31 of 101




           76.   On March 10, 2020, Michigan confirmed its first two cases of COVID-

19.73

           77.   On March 28, 2020, Defendant Whitmer issued EO 2020-28.74 The

order directed public water utilities in Michigan to restore water service to occupied

residences where water service was shut off due to non-payment, as long as the

utility did not have reason to believe that reconnection would create a risk to public

health.75 It required public water utilities to make best efforts to determine which

occupied residences within their service areas do not have water service. 76 The order

also required public utilities to submit a report by April 12, 2020 to the State

Emergency Operations Center regarding access to water in their service areas.77

           78.   On April 10, Defendant Detroit submitted its report required under EO

2020-28.78 Detroit’s report made clear that the city placed the burden on customers


73
  Pat Byrne et al., Michigan Coronavirus Cases: Tracking the Pandemic, Detroit
Free Press (last updated July 5, 2020), https://www.freep.com/in-
depth/news/nation/coronavirus/2020/04/11/michigan-coronavirus-cases-tracking-
covid-19-pandemic/5121186002/.
74
     See Mich. Exec. Order 2020-28, supra note 20.
75
     Id.
76
     Id.
77
     Id.

 Letter from Gary A. Brown, Director, Detroit Water & Sewerage Dep’t to Mich.
78

Emergency         Operations        Ctr.       (Apr.        10,        2020),

                                           31
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.32 Filed 07/09/20 Page 32 of 101




to request a reconnection of service instead of proactively determining which

accounts need service restored and safely restoring service, as required by the order.

According to DWSD’s website, customers were required to call a hotline to have

their water service restored.79

         79.   Defendant Detroit’s report also indicated that the city may have

unlawfully limited the restoration of service to a small subset of customers, as

DWSD’s website notes that the restart plan applies to customers who “[h]ad their

water service recently interrupted due to non-payment.”80 While reportedly 9,500

households in Detroit lacked water service as of January 2020, the city reported on

April 10 that it had restored service to only 1,200 of its customers, about 13% of the

overall total of households reportedly without service.81

         80.   Defendant Detroit also indicated that it may disconnect water service

to additional customers while EO 2020-28 was operative. The city’s guidelines state

that “[o]nce service is restored, customers must make a monthly minimum payment



http://www.deq.state.mi.us/documents/waterinfo/DetroitCityof.pdf          [hereinafter
Brown Letter].
79
  City of Detroit Water & Sewerage Dep’t, Coronavirus COVID-19 Water Restart
Plan,        https://detroitmi.gov/departments/customer-care/water-and-sewerage-
department/coronavirus-covid-19-water-restart-plan (last visited July 8, 2020).
80
     Id. (emphasis added).
81
     Brown Letter, supra note 78.

                                          32
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.33 Filed 07/09/20 Page 33 of 101




of $25 during the time of the COVID-19 outbreak in Detroit to avoid service

interruption.”82 EO 2020-28 imposed no requirement of a minimum payment in

order for water to be restored.

        81.    As described further below, DWSD did not restore water service to

Plaintiffs McCorkle and Wilson until late April or early May 2020.

        82.    Defendants Whitmer, Detroit, Duggan, and Brown did not ensure that

EO 2020-28 was properly implemented and enforced. Upon information and belief,

DWSD has not restored water service to all customers, and some families continue

to live without water service during the current pandemic.

        83.    EO 2020-28 specified that: “[t]his order is effective immediately and

continues until the termination of the state of emergency under section 3 of

Executive Order 2020-4.”83 It was extended under several other executive orders

continuing the state of emergency in Michigan.

        84.    On July 8, 2020, Defendant Whitmer rescinded EO 2020-28 and issued

EO 2020-144.84 EO 2020-144 requires the restoration of water service to customers


82
   City of Detroit Water & Sewerage Dep’t, Program Update: COVID-19 Water
Restart                Plan                (Apr.            9,      2020),
https://detroitmi.gov/sites/detroitmi.localhost/files/2020-
04/DWSD%20Update%20-%20Coronavirus%20Water%20Restart%20Plan%20-
%2004092020_0.pdf.
83
     Mich. Exec. Order 2020-28, supra note 20.
84
     Mich. Exec. Order 2020-144, supra note 21.

                                          33
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.34 Filed 07/09/20 Page 34 of 101




disconnected for non-payment through the remainder of 2020.85 In the order, she

noted that “it is crucial that all Michiganders can access clean water in their homes

and wash their hands thoroughly and regularly. Now more than ever, the provision

of clean water to residences is essential to human health and hygiene, and to the

public health and safety of this state.”86 EO 2020-144 specifies that it does not relieve

a customer of the obligation to pay for water, prevent a public water supply from

charging any customer for water service, or reduce the amount a resident may owe

to a public water supply.87

           85.   On June 17, 2020, the Michigan Legislature passed Senate Bill (“SB”)

690, a supplemental spending plan to provide relief for small businesses, health care

providers, and local governments struggling with the financial impacts from the

COVID-19 outbreak.88 The plan appropriates $880 million in federal dollars from

the Coronavirus Aid, Relief, and Economic Security Act.89



85
     Id. at 2.
86
     Id.
87
     Id.
88
  SB 0690, supra note 23; Laina G. Stebbins, Legislature OKs $880M Spending
Bill, Rejects Dem Asks for Mental Health, Sick Leave, Michigan Advance (June 17,
2020), https://www.michiganadvance.com/2020/06/17/legislature-oks-880m-
spending-bill-rejects-dem-asks-for-mental-health-sick-leave/.
89
     Stebbins, supra note 88.

                                           34
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.35 Filed 07/09/20 Page 35 of 101




           86.   Among other appropriations, SB 690 grants $25 million in limited

water utility assistance for households across the state.90 Pursuant to the bill,

MDHHS will make payments to water utility providers to reimburse them for

providing bill forgiveness for arrearages and fees incurred by customers during the

COVID-19 state of emergency.91 It will also require utilities to provide a 25%

discount on the total water bill for eligible customers through the end of December

2020.92 The maximum reimbursement for each household is $700.93

           87.   To receive funds under the bill, water utility providers must agree to a

number of conditions, including that they will (1) not shut off water service to

residential customers for at least 90 days beyond the date that the customer receives

water utility assistance; (2) forgive 25% of the amount billed for water service to

residential customers before December 1, 2020; and (3) notify customers of the

discount provided and bill forgiveness, among other requirements.94




90
     SB 0690, supra note 23, at § 107(2).
91
     Id. at § 404(2).
92
     Id.
93
     Id.
94
     Id. at § 404(3)(a)-(3).

                                             35
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.36 Filed 07/09/20 Page 36 of 101




         88.    To be eligible for this assistance, a residential customer must be eligible

for the state’s food assistance program and must have accumulated new arrearages

or fees after March 1, 2020 and during the COVID-19 state of emergency.95

         89.    Defendant Whitmer supported the passage of SB 690 and signed the

bill into law on July 1, 2020.96

         90.    On information and belief, Defendant Detroit has not indicated whether

it will comply with the conditions required under SB 690 and accept funds for water

utility assistance.

         91.    The water assistance program established by SB 690 does not provide

any relief to customers for arrearages incurred prior to or after the COVID-19

pandemic and provides no long-term relief for Detroit’s water insecure population.

         92.    On April 27, 2020, Defendant Duggan indicated that Detroit will

resume water shutoffs for customers who cannot keep up with their bill payments




95
     Id. at § 404(4).
96
  Scott McClallen, Legislature Approves $880 Million in COVID-19 Response
Funding, The Center Square (June 18, 2020),
https://www.thecentersquare.com/michigan/legislature-approves-880-million-in-
covid-19-response-funding/article_b28cef5c-b159-11ea-a97e-6f7a8aa46769.html;
SB 0690, supra note 23.

                                             36
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.37 Filed 07/09/20 Page 37 of 101




after the coronavirus crisis has passed.97

Shutoffs Pose a Threat to Detroit Residents’ Bodily Integrity

        93.    Mass water shutoffs made it impossible for thousands of Detroit

residents—many with pre-existing health conditions—to take the precaution of

handwashing and cleaning to avoid infection by COVID-19.

        94.    Public health experts warn that COVID-19 can spread and entire

populations can become ill when people do not have the ability to wash their hands.98

The Centers for Disease Control and Prevention deems frequent handwashing for at

least 20 seconds with soap and water necessary to decrease the risk of infection.99

Bottled water and hand sanitizer are not sufficient substitutes to reduce the risk of

infection.




97
     Cwiek, supra note 25.
98
    See, e.g., Ctrs. for Disease Control & Prevention, Water Sanitation &
Environmentally-related Hygiene: Keeping Hands Clean (Dec. 4, 2019),
https://www.cdc.gov/healthywater/hygiene/hand/handwashing.html; World Health
Org., WHO Saves Lives: Clean Your Hands in the Context of COVID-19,
https://www.who.int/docs/default-source/coronaviruse/who-hh-community-
campaign-finalv3.pdf?sfvrsn=5f3731ef_2.
99
  Ctrs. for Disease Control & Prevention, Coronavirus Disease 2019 (Covid-19):
Protect Yourself (Apr. 24, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/prevent-getting-sick/prevention.html.

                                             37
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.38 Filed 07/09/20 Page 38 of 101




      95.    People over the age of 65 are at far greater risk of severe illness and

death from COVID-19 than are younger people.100 People older than 65 are at

particular risk when they live in multigenerational households where younger family

members attend school or work outside of the home.101 Although the share of

Americans living in multigenerational families has increased for all races since 1980

and is currently at a record high, Black households are more likely to be

multigenerational than are white households.102 As U.S. Surgeon General Jerome M.

Adams acknowledged, “[p]eople of color are more likely to live in densely packed

areas and in multi-generational housing situations, which create higher risk for

spread of highly contagious disease like covid-19.”103



100
   Ctrs. for Disease Control & Prevention, COVID-19 Guidance for Older Adults
(June 25, 2020), https://www.cdc.gov/aging/covid19-guidance.html.
101
     Cara Anthony, ‘Staying Away from Grandma’ Isn’t An Option In
Multigenerational Homes, Kaiser Health News (Apr. 6, 2020),
https://khn.org/news/multigenerational-households-social-distancing-at-home-
coronavirus/.
102
    D’Vera Cohn & Jeffrey S. Passel, A Record 65 Million Americans Live in
Multigenerational Households, Pew Research Ctr. (Apr. 5, 2018),
https://www.pewresearch.org/fact-tank/2018/04/05/a-record-64-million-americans-
live-in-multigenerational-households/; Andre M. Perry, et al., Mapping Racial
Inequity Amid COVID-19 Underscores Policy Discriminations Against Black
Americans, Brookings Inst. (Apr. 16, 2020), https://www.brookings.edu/blog/the-
avenue/2020/04/16/mapping-racial-inequity-amid-the-spread-of-covid-19/.
103
  Eugene Scott, 4 Reasons Coronavirus is Hitting Black Communities So Hard,
Wash.             Post             (Apr.              10,            2020),

                                         38
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.39 Filed 07/09/20 Page 39 of 101




      96.    Several studies indicate that children who are infected with COVID-19

are as infectious as infected adults, and carry the same viral load.104 Although rates

of recorded infections in children are lower than that of the general population,

otherwise healthy children have been known to experience severe illness and death

due to the disease.105 Black children are more likely to suffer from co-morbidities

like asthma than are white children.106 Black children have also been

disproportionately infected by a childhood inflammatory disease related to COVID-

19 that has been identified in New York.107




https://www.washingtonpost.com/politics/2020/04/10/4-reasons-coronavirus-is-
hitting-black-communities-so-hard/.
104
   Gretchen Vogel & Jennifer Couzin-Frankel, Should Schools Reopen? Kids’ Role
in     Pandemic     Still  a    Mystery,      Science    (May     4,    2020),
https://www.sciencemag.org/news/2020/05/should-schools-reopen-kids-role-
pandemic-still-mystery.
105
    Diane Alexander & Janet Currie, Is It Who You Are Or Where You Live?
Residential Segregation and Racial Gaps In Childhood Asthma, Nat’l Bureau of
Econ.       Res.       Working      Paper       23622      (July      2017),
https://www.nber.org/papers/w23622.
106
    Lara S. Shekerdemian, et al., Characteristics and Outcomes of Children with
Coronavirus Disease 2019 (Covid-19) Infection Admitted to US and Canadian
Pediatric Intensive Care Units, JAMA Pediatrics (May 11, 2020),
https://jamanetwork.com/journals/jamapediatrics/fullarticle/2766037.
107
    New York State, Childhood Inflammatory Disease Related to Covid-19,
https://coronavirus.health.ny.gov/childhood-inflammatory-disease-related-covid-
19.

                                         39
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.40 Filed 07/09/20 Page 40 of 101




      97.    National and state data have shown that Black people are dying of

COVID-19 at a disproportionate rate. As the New York Times reported on July 5,

2020, “Black and Latino people have been disproportionately affected by the

coronavirus in a widespread manner that spans the country, throughout hundreds of

counties in urban, suburban and rural areas, and across all age groups.”108

Nationwide, counties that are majority-Black have three times the rate of infections

and almost six times the rate of deaths as counties where white residents are in the

majority.109 Although Black people account for only 13% of the total U.S.

population, they account for nearly one quarter (23%) of all COVID-19 deaths.110

      98.    These disparities are exacerbated in Michigan: Black Michiganders

account for 40% of COVID-19 deaths despite making up less than 14% of the total




108
   Richard A. Oppel, Jr. et al., The Fullest Look Yet at the Racial Inequity of the
Coronavirus, N.Y. Times (July 5, 2020),
https://www.nytimes.com/interactive/2020/07/05/us/coronavirus-latinos-african-
americans-cdc-data.html.
109
    Reis Thebault et al., The Coronavirus is Infecting and Killing Black Americans
at an Alarmingly High Rate, Wash. Post. (Apr. 7, 2020),
https://www.washingtonpost.com/nation/2020/04/07/coronavirus-is-infecting-
killing-black-americans-an-alarmingly-high-rate-post-analysis-
shows/?arc404=true.
110
   Ariana Eunjung Cha, ‘We Don’t Get Justice’: When a Black girl’s Death from
Covid-19 Feels Like a Collision of Two Crises, Wash. Post. (June 6, 2020),
https://www.washingtonpost.com/health/2020/06/05/coronavirus-baltimore-race-
police-violence/.

                                         40
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.41 Filed 07/09/20 Page 41 of 101




population of the state.111 As of July 7, 2020, the COVID-19 infection rate for Black

Michiganders was 13,422 per one million persons, more than four times the number

of infections for white Michiganders (3,324 infections per one million persons).112

         99.   Detroit is the epicenter of COVID-19 infections within Wayne County

and in Michigan overall.113 As of May 15, 2020, Detroit’s confirmed cases were

concentrated in predominantly Black and lower-income neighborhoods.114

According to the Brookings Institution, 90% of the city’s zip codes with the highest

number of confirmed cases have populations that are at least 80% Black.115 Data


111
         Mich.      Exec.      Order     2020-55     (Apr.     20,      2020),
http://www.legislature.mi.gov/documents/2019-2020/executiveorder/pdf/2020-EO-
55.pdf; see also APM Research Lab, The Color of Coronavirus: COVID-19 Deaths
by      Race    and     Ethnicity    in   the   U.S.    (June    24,    2020),
https://www.apmresearchlab.org/covid/deaths-by-race (estimating that Black
people account for 41% of COVID-19 deaths in Michigan).
112
    Coronavirus Michigan Data, Cases by Race, Michigan.gov (July 7, 2020),
https://www.michigan.gov/coronavirus/0,9753,7-406-98163_98173---,00.html.
113
    Coronavirus Michigan Data, Cases by County, Michigan.gov (July 7, 2020),
https://www.michigan.gov/coronavirus/0,9753,7-406-98163_98173---,00.html
(City of Detroit and Wayne County reported separately); Michigan Coronavirus
Map      and      Case     Count,     N.Y.    Times      (July    8,     2020),
https://www.nytimes.com/interactive/2020/us/michigan-coronavirus-cases.html
(Michigan state and county data reported separately); Wayne County COVID-19
Data: Tracking Cases, Deaths; City-by-city Breakdown, Click on Detroit (July 5,
2020),      https://www.clickondetroit.com/news/local/2020/04/04/wayne-county-
covid-19-data-tracking-cases-deaths/.
114
      Henry-Nickie & Hudak, supra note 15; see also Austin, supra note 15.
115
      Henry-Nickie & Hudak, supra note 15.

                                         41
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.42 Filed 07/09/20 Page 42 of 101




compiled by the City of Detroit shows that Black people account for 81.3% of

COVID-related deaths in the city.116 As of late May 2020, Wayne County had the

fifth highest death toll from COVID-19 in the country.117

         100. In Detroit, many low-income residents suffer from medical conditions

such as heart disease,118 asthma,119 diabetes,120 hypertension,121 and assorted




116
      Detroit Health Dep’t, supra note 17.
117
      Marini, supra note 18.
118
   Mich. Dep’t of Cmty. Health, Impact of Heart Disease and Stroke in Michigan:
2008       Report       on        Surveillance      23     (August       2008),
https://www.michigan.gov/documents/mdch/Impact_complete_report_245958_7.p
df (finding that as of 2006, Wayne County had the third-highest age-adjusted
cardiovascular disease mortality rate in Michigan).
119
   Peter DeGuire, et al., Detroit: The Current Status of the Asthma Burden, Mich.
Dep’t       of      Health       &      Human          Svcs.      (Mar.       2016),
https://www.michigan.gov/documents/mdhhs/Detroit-
AsthmaBurden_516668_7.pdf (finding that Detroit has a greater overall asthma
burden than Michigan and that hospitalization rate for white Detroiters was 35% less
than that for Black Detroiters).
120
   Diabetes Risk Factors Community Profile: Wayne County, Detroit, and Inkster
and Eastern Detroit, Dirs. of Health Promotion & Ed. (Aug. 2013),
https://midiabetesprevention.org/documents/DPP-Map-Wayne-County-Detroit-
and-Inkster.pdf.
121
   Crain’s Content Studio, Wayne State Develops Novel Geocoded Map to Improve
Health Outcomes Throughout Michigan, Crain’s Detroit Business (May 31, 2019),
https://www.crainsdetroit.com/sponsored-content/wayne-state-develops-novel-
geocoded-map-improve-health-outcomes-throughout.

                                             42
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.43 Filed 07/09/20 Page 43 of 101




autoimmune diseases.122 These conditions compound the complications associated

with the lack of water due to shutoffs.123 Further, low-income people and Black

people are particularly likely to work in low-wage service jobs and essential services

that require them to work outside of their homes, thereby exposing them to greater

risk of infection.124 They also risk exposing others to infection if they become sick

themselves.

      101. As COVID-19 became a pandemic, Defendants made several

statements related to handwashing. These include, among others, Defendant

Whitmer’s statement in EO 2020-28, which was repeated in EO 2020-144: “Now

more than ever, the provision of clean water to residences is essential to human


122
   Detroiters are particularly susceptible to other diseases as well. Sarah L. Reeves,
et al., Incidence, Demographic Characteristics, and Geographic Distribution of
Sickle Cell Trait and Sickle Cell Anemia Births in Michigan, 1997-2014, 7 Molecular
Genetics & Genomic Medicine e795, at 3 (2019) (finding that Detroit has the highest
incidence of sickle cell trait births in the state).
123
   Annette Prüss-Ustün, et al., Burden of Disease from Inadequate Water, Sanitation
and Hygiene for Selected Adverse Health Outcomes: An Updated Analysis with a
Focus on Low- and Middle-income Countries, 222 International Journal of Hygiene
and Environmental Health 765, 770 (2019) (finding that inadequate drinking water,
sanitation, and hygiene behaviors were the but-for cause of 60% of the worldwide
total of diarrheal deaths, or 829,000 deaths, in 2016. Thirteen percent of the overall
disease burden of acute respiratory infections in 2016 were attributable to inadequate
handwashing with soap).
124
   Elise Gould & Heidi Shierholz, Not Everybody Can Work from Home; Black and
Hispanic Workers Are Much Less Likely to be Able to Telework, Econ. Pol’y Inst.:
Working Econ. Blog (Mar. 19, 2020), https://www.epi.org/blog/black-and-hispanic-
workers-are-much-less-likely-to-be-able-to-work-from-home/.

                                         43
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.44 Filed 07/09/20 Page 44 of 101




health and hygiene and to the public health and safety of this state.”125 Defendant

Duggan stated: “Given the importance of handwashing . . . the governor and I sat

down and said we’re going to have a solution that no resident of the City of Detroit

has their water shut off for lack of funds.”126

         102. Detroit neighborhoods that have experienced high rates of water

shutoffs are also neighborhoods that have experienced significant rates of COVID-

19 infection. COVID-19 infections in Detroit escalated to levels that caused the city

to become designated as a “hot spot,” with high concentrations of infections.127

         103. Figure 1 below reflects an analysis of Detroit zip codes where water

shutoffs occurred between 2010 and 2020 and where COVID-19 cases have been

reported. As shown in the figure, zip codes with below-average shutoffs per 1,000

people had, on average, 4.2 (or 24%) fewer COVID-19 cases per 1,000 than zip

codes with above-average shutoffs. Zip codes with below-average shutoffs had 13




125
   Mich. Exec. Order 2020-28, supra note 20, at 1; Mich. Exec. Order 2020-144,
supra note 21, at 2.
126
      Taylor, supra note 72.
127
    David Eggert, Deaths Spike in Michigan; Top Doctor Warns About Detroit,
Assoc.     Press    (Mar.    27,    2020),   https://www.usnews.com/news/best-
states/michigan/articles/2020-03-27/surgeon-general-on-pandemic-detroit-will-
worsen-next-week.

                                          44
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.45 Filed 07/09/20 Page 45 of 101




COVID-19 cases per 1,000 people, while zip codes with above-average shutoffs had

17.2 COVID-19 cases per 1,000 people. This difference is statistically significant.128




128
     Statistical significance is a measure of probability that an observed outcome
would not have occurred by chance. Generally, an outcome is statistically significant
if the probability that it could have occurred by chance is less than 5%, known as the
95% confidence level. Here, all results described in this Complaint are statistically
significant at the 95% confidence level or higher.

                                         45
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.46 Filed 07/09/20 Page 46 of 101




Figure 1: Analysis of Detroit Zip Codes Where Water Shutoffs Occurred from
2010-2020 and Reported COVID-19 Cases




      104. The Brookings Institution determined that the zip codes where five of

the named Plaintiffs reside have some of the highest concentrations of COVID-19

infection.129 These zip codes all have a predominantly Black population and have

high rates of water shutoffs, as discussed further below.


129
   See Henry-Nickie & Hudak, supra note 15. These zip codes are: 48221 (Plaintiff
Lisa Brooks); 48227 (Plaintiff Michele Cowan); 48204 (Plaintiff Tuana Henry);
48217 (Plaintiff Mattie McCorkle); and 48223 (Plaintiff Renee Wilson). Data is not
available for the zip code where Plaintiff Taylor lives (48203), as that zip code is
shared between Detroit and Highland Park.

                                         46
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.47 Filed 07/09/20 Page 47 of 101




            105. Plaintiffs risk infection not only as a result of not having access to water

for disease prevention through handwashing and other cleaning measures, but also

as a consequence of their residence in neighborhoods where there are high disease

infection rates caused by significant numbers of water shutoffs. In these

environments, the risk of contact with infected persons and hazardous conditions are

significantly increased. One researcher connected spikes in three diseases to water

shutoffs in Detroit.130 The diseases observed were shigellosis (an acute dysentery);

giardiasis (a protozoan infection); and campylobacter (an acute intestinal disease).131

The researcher took special note of findings regarding patients at Detroit’s Henry

Ford Hospital: “Patients who came from blocks with water shut off[s] were 1.55

times more likely to be diagnosed with a water associated illness. Also, if the patient

had waterborne disease, they more likely lived on a block with a shut off.”132

Water Shutoffs Disproportionately Impact Black Residents in Detroit

            106. Defendant Detroit’s water shutoff policy has a disproportionate impact

on Black residents of the city.

            107. According to data reported by the U.S. Census Bureau, as of July 2019,




130
      Gaines, supra note 65, at 1.
131
      Id.
132
      Id. at 2.

                                               47
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.48 Filed 07/09/20 Page 48 of 101




the population of Detroit was 670,031.133 Approximately 78.6% of the city’s

population is Black and 14.6% is white.134 In Detroit, 36.4% of the population is

impoverished.135

            108. From 2013 to 2017, Detroit’s population was 81% Black and 9.4%

white.136 During this time period, 82% of Detroit’s Census tracts had a population

that was at least 75% Black and 89% of the city’s Census tracts had a majority-Black

population.137 Additionally, during this period, there were 254 Detroit Census tracts

with a majority-Black population and five Census tracts with a majority-white

population. Map 1 below shows the racial demographics in Detroit between 2013

and 2017.




133
      U.S. Census Bureau, supra note 11.
134
      Id.
135
      Id.
136
  The white population in Detroit increased from 9.4% in 2013-2017 to 14.6% in
2019.
137
   U.S. Census Bureau, 2013-2017 American Community Survey 5-year Estimates
(2019),
https://data.census.gov/cedsci/table?q=race&g=0500000US26163.140000&hidePr
eview=false&tid=ACSDT5Y2017.B02001&vintage=2017&layer=VT_2017_140_
00_PY_D1&cid=B03002_001E&y=2017&t=Race%20and%20Ethnicity.

                                           48
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.49 Filed 07/09/20 Page 49 of 101




Map 1: Map of Detroit’s Black Population, 2013-2017




      109. Several studies have shown a connection between race and water

shutoffs in Detroit. In 2016, the organization We the People of Detroit Community

Research Collective examined water shutoffs in the city and determined there was a

widespread impact on Black neighborhoods.138 In 2019, another report found that

water shutoff notices in several cities in the Great Lakes region, including Detroit,

were disproportionately concentrated in majority Black (as well as Latinx and low-




138
   We the People of Detroit Community Research Collective, Mapping the Water
Crisis, https://www.wethepeopleofdetroit.com/community-research (last visited
July 8, 2020).

                                         49
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.50 Filed 07/09/20 Page 50 of 101




income) neighborhoods.139

      110. Defendant Detroit’s water shutoff policy has a disproportionate impact

on Black neighborhoods in the city. Map 2 below shows the location of water

shutoffs per 1,000 people that occurred between January 2017 and July 2018 and the

racial demographics in Detroit between 2013 and 2017. As demonstrated by the map,

the greatest number of shutoffs occurred in areas of the city with the highest

percentage of Black residents. By comparison, areas of the city with the lowest

percentage of Black residents experienced fewer shutoffs.




139
   Maria Zamudio & Will Craft, So Close, Yet So Costly 7, APM Reports (Feb. 7,
2019), https://www.apmreports.org/story/2019/02/07/great-lakes-water-shutoffs.

                                       50
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.51 Filed 07/09/20 Page 51 of 101




Map 2: Water Shutoffs and Race in Detroit by Census Tract, 2017-2018




      111. Map 3 below shows the location of water shutoffs per 1,000 people that

occurred between January 2019 and January 2020 and the racial demographics in

Detroit between 2013 and 2017. As demonstrated by the map, the greatest number

of shutoffs occurred in areas of the city with the highest percentage of Black

residents. By comparison, areas of the city with the lowest percentage of Black

residents experienced fewer shutoffs.




                                        51
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.52 Filed 07/09/20 Page 52 of 101




Map 3: Water Shutoffs and Race by Detroit Zip Code, 2019-2020




      112. From January 2017 to July 2018, 91% of residential water shutoffs

occurred in Census tracts with a population that was greater than 75% Black. During

this same time period, 9% of shutoffs occurred in Census tracts that had a population

that was less than 75% Black. These differences are statistically significant.

      113. From January 2017 to July 2018, Detroit Census tracts with a less than

75% Black population had, on average, 21.5 (or 60%) fewer shutoffs per 1,000

people than tracts with a greater than 75% Black population. As shown below in

Figure 2, tracts with a greater than 75% Black population had 35.6 shutoffs per 1,000

people, while tracts with a less than 75% Black population had 14.2 shutoffs per

                                         52
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.53 Filed 07/09/20 Page 53 of 101




1,000 people. This difference is statistically significant. These results remained

statistically significant even when accounting for differences in income and taking

account of the number of unoccupied homes in Detroit.

Figure 2: Analysis of Water Shutoffs in Census Tracts with Population
Greater than 75% Black and Less than 75% Black, 2017-2018




      114. From January 2017 to July 2018, 95% of residential water shutoffs

occurred in Census tracts with a population that was greater than 50% Black. During

this same time period, 5% of shutoffs occurred in Census tracts with a population

that was less than 50% Black. These differences are statistically significant.

      115. From January 2017 to July 2018, Detroit Census tracts with a less than

                                         53
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.54 Filed 07/09/20 Page 54 of 101




50% Black population had, on average, 21.7 (or 64%) fewer shutoffs per 1,000

people than tracts with a greater than 50% Black population. As shown below in

Figure 3, tracts with a greater than 50% Black population had 34.1 shutoffs per 1,000

people, while tracts with a less than 50% Black population had 12.4 shutoffs per

1,000 people. This difference is statistically significant. These results remained

statistically significant even when accounting for differences in income and the

number of unoccupied homes.

Figure 3: Analysis of Water Shutoffs in Census Tracts with Population
Greater than 50% Black and Less than 50% Black, 2017-2018




      116. From January 2017 to July 2018, Detroit Census tracts with a greater

                                         54
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.55 Filed 07/09/20 Page 55 of 101




than 50% white population had, on average, 16.4 (or 48%) fewer shutoffs per 1,000

people than majority-Black tracts. As shown below in Figure 4, majority-Black

tracts had 34.1 shutoffs per 1,000 people, while majority-white tracts had 17.7

shutoffs per 1,000 people. This difference is statistically significant. These results

remained statistically significant even when accounting for differences in income

and the number of unoccupied homes.

Figure 4: Analysis of Water Shutoffs in Census Tracts with Population Greater
than 50% Black and Greater than 50% White, 2017-2018




      117. From January 2019 to January 2020, 93% of residential water shutoffs

occurred in zip codes with a population greater than 75% Black. During this same

                                         55
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.56 Filed 07/09/20 Page 56 of 101




time period, 7% of shutoffs occurred in zip codes with a less than 75% Black

population. This difference is statistically significant.

      118. From January 2019 to January 2020, Detroit zip codes with a less than

75% Black population had, on average, 31.3 (or 67%) fewer shutoffs per 1,000

people than tracts with a greater than 75% Black population. As shown below in

Figure 5, zip codes with a greater than 75% Black population had 46.9 shutoffs per

1,000 people, while zip codes with a less than 75% Black population had 15.6

shutoffs per 1,000 people. This difference is statistically significant.

Figure 5: Analysis of Water Shutoffs in Census Tracts with Population
Greater than 75% Black and Less than 75% Black, 2019-2020




                                           56
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.57 Filed 07/09/20 Page 57 of 101




      119. From January 2019 to January 2020, 96% of residential water shutoffs

occurred in zip codes with a population that was greater than 50% Black. During this

same time period, 4% of shutoffs occurred in zip codes with a less than 50% Black

population. This difference is statistically significant.

      120. From January 2019 to January 2020, Detroit zip codes with a less than

50% Black population had, on average, 30.6 (or 68%) fewer shutoffs per 1,000

people than tracts with a greater than 50% Black population. As shown below in

Figure 6, zip codes with a greater than 50% Black population had 44.9 shutoffs per

1,000 people, while zip codes with a less than 50% Black population had 14.3

shutoffs per 1,000 people. This difference is statistically significant. These results

remained statistically significant even when accounting for differences in income

and the number of unoccupied homes.




                                           57
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.58 Filed 07/09/20 Page 58 of 101




Figure 6: Analysis of Water Shutoffs in Census Tracts with Population
Greater than 50% Black and Less than 50% Black, 2019-2020




The Named Plaintiffs Have and Will Continue to be Harmed by Defendants’
Actions

      121. Plaintiff Jacqueline Taylor is a 66-year-old Black resident of Detroit.

She owns her home in zip code 48203. Ms. Taylor’s monthly average income from

Social Security benefits is $860. Ms. Taylor has disabilities and has had a home

health aide assisting her in her home.

      122. Due to Ms. Taylor’s age, she is at a heightened risk of developing life-

threatening complications if she contracts COVID-19.



                                         58
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.59 Filed 07/09/20 Page 59 of 101




      123. In January and February 2016, Ms. Taylor was hospitalized and in a

rehabilitation center for a hip replacement. At that time, no one was living in her

home or using her water service. Prior to her surgery, she had two inspections of her

home to confirm she had no water leaks. She also had a new toilet installed around

that time.

      124. After returning home from her surgery, Ms. Taylor received a bill from

DWSD for water usage totaling approximately 75,000 gallons during the period in

which no one was living in her home. The bill was approximately $1,500 to $2,000.

      125. Ms. Taylor contacted DWSD regarding the bill, but the department

refused to adjust it. Ms. Taylor could not afford to pay the bill and believes she was

overbilled.

      126. Ms. Taylor tried to enroll in WRAP but was unable to do so.

      127. DWSD eventually disconnected Ms. Taylor’s water service in mid-

2018. By that time, DWSD claimed that she owed nearly $6,000 in water service

arrearages. DWSD did not affirmatively confirm whether Ms. Taylor had the ability

to pay her bill before disconnecting her service.

      128. Ms. Taylor lived without water service in her home from mid-2018

until March 2020, after the announcement of Detroit’s Water Restart Plan and EO

2020-28.




                                         59
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.60 Filed 07/09/20 Page 60 of 101




      129. During the time that Ms. Taylor had no water service in her home, We

the People of Detroit donated four cases of bottled water to Ms. Taylor every two

weeks, so that she had water for handwashing, drinking, bathing, cleaning, and

sanitation. She would also go to her son’s house to bathe.

      130. During the time that Ms. Taylor lacked water service, she would wash

her hands by first warming a bowl of donated bottled water in the microwave. She

would then pour the warmed water on her hands, lather with soap, and rinse her

hands with additional bottled water.

      131. DWSD reconnected Ms. Taylor’s water service in March 2020, after

the announcement of the Water Restart Plan and EO 2020-28. Her current monthly

bill is $25 pursuant to the plan, and she still owes DWSD the prior arrearages.

      132. Ms. Taylor has called DWSD to inquire about enrolling in WRAP but

has not been able to reach anyone.

      133. When Detroit resumes water shutoffs, Ms. Taylor will be at immediate

risk of losing water service to her home due to her low income and inability to pay

her water bill, including prior arrearages.

      134. Plaintiff Lisa Brooks is a 55-year-old Black resident of Detroit. She has

rented her home in zip code 48221 for ten years. She lives in the home with two of

her children, ages 14 and 16. Her monthly income is approximately $1,200 from

Social Security disability and the Michigan Bridges food assistance program.


                                          60
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.61 Filed 07/09/20 Page 61 of 101




      135. Ms. Brooks has chronic obstructive pulmonary disease, diabetes,

arthritis, and other breathing issues. She must use a portable oxygen tank to assist

her breathing. Her 16-year-old son has asthma and uses a nebulizer, which requires

the use of water.

      136. Under the terms of her lease, Ms. Brooks is required to pay her water

bill, which is in her name.

      137. DWSD first disconnected Ms. Brooks’s water service in 2018. DWSD

did not affirmatively confirm whether Ms. Brooks had the ability to pay her bill

before disconnecting her service.

      138. Ms. Brooks and her children lived without water for about a year.

During this time, Ms. Brooks received water assistance from We the People of

Detroit, which provided her with eight to 12 cases of water every two weeks for

handwashing, drinking, bathing, cleaning, and sanitation. She would also go to

relatives’ homes to bathe.

      139. In 2019, Ms. Brooks was able to have her service reconnected by

DWSD. She entered into a payment plan with DWSD, which required her to pay her

current monthly bill (typically around $100 a month) plus $98 per month. This

required payment was approximately 17% of Ms. Brooks’s total monthly income.

      140. Ms. Brooks was unable to keep up with the payment plan due to her

low income. DWSD disconnected her water service again in the winter of 2019.


                                        61
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.62 Filed 07/09/20 Page 62 of 101




Once again, DWSD did not affirmatively confirm whether Ms. Brooks had the

ability to pay her bill before disconnecting her service. Ms. Brooks and her children

lived without water service in their home until March 2020. During this time, Ms.

Brooks again obtained water from We the People of Detroit.

      141. During the time that Ms. Brooks lacked water service, she would wash

her hands by wetting them with donated bottled water, adding soap, and then rinsing

with more bottled water.

      142. DWSD reconnected Ms. Brooks’s water service in March 2020, after

the announcement of the Water Restart Plan and EO 2020-28. She is paying $25 a

month for her water service as part of that plan.

      143. Ms. Brooks currently owes DWSD around $2,000 in arrearages.

      144. When Detroit resumes water shutoffs, Ms. Brooks will be at immediate

risk of losing water service to her home due to her low income and inability to pay

her water bill.

      145. Ms. Brooks’s children, who attend high school, have been distance

learning since March 2020. They are expected to return to school this fall. This may

increase their risk of COVID-19 infection, particularly if there is a second wave of

infections this winter, and also places Ms. Brooks at a greater risk of infection. This

risk will be exacerbated if DWSD disconnects water service to Ms. Brooks’s home




                                          62
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.63 Filed 07/09/20 Page 63 of 101




after the expiration of EO 2020-144 and they do not have running water to wash

their hands, flush their toilets, or clean their home.

         146. According to an analysis conducted by the Brookings Institution, Ms.

Brooks lives in a zip code with one of the highest concentrations of COVID-19

infections in Detroit.140 The zip code where Ms. Brooks resides, 48221, has a

population that is 92.9% Black. From January 2019 to January 2020, this zip code

had 58.86 shutoffs for every 1,000 persons and was ranked fifth in number of

shutoffs among 25 zip codes with available data.

         147. Ms. Brooks and her family live in close physical proximity to many

persons who are infected or who have a highly enhanced risk of infection of COVID-

19 or other diseases and who may lack water service to wash their hands, flush their

toilets, or clean their homes. This places Ms. Brooks and her family at a heightened

risk of infection of COVID-19 or other diseases.

         148. Plaintiff Michele Cowan is a 42-year-old Black resident of Detroit. She

owns her home with her 23-year-old daughter in zip code 48227. Ms. Cowan lives

with two of her adult daughters and her two grandchildren, ages two and six. Her

family’s income is approximately $1,300 per month.




140
      Henry-Nickie & Hudak, supra note 15.

                                           63
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.64 Filed 07/09/20 Page 64 of 101




      149. Ms. Cowan works at a home health aide service for elderly persons. She

did not work between March and early June 2020 due to the risk of contracting

COVID-19, but returned to work in mid-June 2020. Her employment exposes her to

an increased risk of contracting and spreading COVID-19.

      150. DWSD disconnected Ms. Cowan’s water service in August 2019 for

approximately $700 in arrearages. She still owes DWSD this amount. DWSD did

not affirmatively confirm whether Ms. Cowan had the ability to pay her bill before

disconnecting her service.

      151. Ms. Cowan previously tried to enroll in WRAP but was informed she

did not qualify for the program.

      152. Ms. Cowan and her family lived without water from August 2019 until

March 2020. During this time, We the People of Detroit provided Ms. Cowan and

her family with bottled water for handwashing, drinking, bathing, cleaning, and

sanitation. She would receive eight to 10 cases of water every two weeks from the

organization.

      153. During the time that Ms. Cowan lacked water service, she would wash

her hands by wetting them with donated bottled water, adding soap, and then rinsing

with more bottled water.

      154. DWSD reconnected Ms. Cowan’s water service in March 2020, after

the announcement of the Water Restart Plan and EO 2020-28.


                                        64
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.65 Filed 07/09/20 Page 65 of 101




            155. When Detroit resumes water shutoffs, Ms. Cowan will be at immediate

risk of losing water service to her home due to her low income and inability to pay

her water bill.

            156. Ms. Cowan’s six-year-old grandchild has been distance learning since

March 2020, and is expected to return to school in the fall. This may increase her

grandchild’s risk of COVID-19 infection, particularly if there is a second wave of

infections this winter, and also places Ms. Cowan and her family at a greater risk of

infection. This risk will be exacerbated if DWSD disconnects water service to Ms.

Cowan’s home after the expiration of EO 2020-144 and they do not have running

water to wash their hands, flush their toilets, or clean their home.

            157. According to an analysis conducted by the Brookings Institution, Ms.

Cowan lives in a zip code with one of the highest concentrations of COVID-19

infections in Detroit.141 The zip code where Ms. Cowan resides, 48227, has a

population that is 96.7% Black. From January 2019 to January 2020, this zip code

had 41.85 shutoffs for every 1,000 persons and was ranked 10th in number of

shutoffs among 25 zip codes with available data.

            158. Ms. Cowan and her family live in close physical proximity to many

persons who are infected or who have a highly enhanced risk of infection of COVID-



141
      Id.

                                            65
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.66 Filed 07/09/20 Page 66 of 101




19 or other diseases and who may lack water service to wash their hands, flush their

toilets, or clean their homes. This places Ms. Cowan and her family at a heightened

risk of infection of COVID-19 or other diseases.

      159. The lack of water service in her home has been very stressful for Ms.

Cowan and her family. She has anxiety over the prospect of losing water service

when DWSD resumes shutoffs.

      160. Plaintiff Tuana Henry is a 45-year-old Black resident of Detroit. She

owns her home in the west side of the city, in zip code 48204. She has eight children

living with her, six of whom are under the age of 18. Ms. Henry’s income averages

between $1,200 and $1,500 per month. Ms. Henry has asthma and bronchitis,

requiring the use of a water-based nebulizer and other inhalants.

      161. Due to her low income, Ms. Henry enrolled in WRAP in approximately

2016. However, due to the cost, she was unable to pay her monthly bill and the

required payment on her delinquent bill. Between 2016 and 2020, Ms. Henry’s water

service was disconnected by DWSD for non-payment several times. DWSD marked

Ms. Henry’s property with bright blue spray paint to show that her water service had

been disconnected. DWSD did not affirmatively confirm whether Ms. Henry had the

ability to pay her bill before disconnecting her service.

      162. In approximately May 2019, Ms. Henry’s water service was

disconnected by DWSD. She lived without water service from May 2019 until


                                          66
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.67 Filed 07/09/20 Page 67 of 101




March 2020. During the time that she lived without water service, Ms. Henry would

purchase bottled water or fill up gallons from her son’s home or her neighbor’s

home. She once received water from the Michigan Welfare Rights Organization.

      163. During the time that Ms. Henry lacked water service, she would wash

her hands by wetting them with donated bottled water, adding soap, rinsing with

more bottled water, and then drying her hands.

      164. DWSD reconnected Ms. Henry’s water service in March 2020, after the

announcement of the Water Restart Plan and EO 2020-28.

      165. When Detroit resumes water shutoffs, Ms. Henry will be at immediate

risk of losing water service to her home due to her low income and inability to pay

her water bill.

      166. Six of Ms. Henry’s children attend school. They have been distance

learning since March 2020, but are expected to return to school in the fall. This may

increase her children’s risk of COVID-19 infection, particularly if there is a second

wave of infections this winter, and also places Ms. Henry and her family at a greater

risk of infection. This risk will be exacerbated if DWSD disconnects water service

to Ms. Henry’s home after the expiration of EO 2020-144 and she and her family do

not have running water to wash their hands, flush their toilets, or clean their home.

      167. According to an analysis conducted by the Brookings Institution, Ms.

Henry lives in a zip code with one of the highest concentrations of COVID-19


                                         67
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.68 Filed 07/09/20 Page 68 of 101




infections in Detroit.142 The zip code where Ms. Henry resides, 48204, has a

population that is 95.8% Black. From January 2019 to January 2020, this zip code

had 78.57 shutoffs for every 1,000 persons and was ranked second in number of

shutoffs among 25 zip codes with available data.

            168. Ms. Henry and her family live in close physical proximity to many

persons who are infected or who have a highly enhanced risk of infection of COVID-

19 or other diseases and who may lack water service to wash their hands, flush their

toilets, or clean their homes. This places Ms. Henry and her family at a heightened

risk of infection of COVID-19 or other diseases.

            169. Ms. Henry fears that she will contract COVID-19 and that it will

exacerbate her existing medical conditions if her water service is terminated again.

            170. Plaintiff Mattie McCorkle is a 41-year-old Black resident of Detroit.

She owns her home in zip code 48217. Ms. McCorkle lives in her home with her

husband and three children, ages 18, 12, and six. She and her husband had a joint

income of approximately $22,000 in 2019.

            171. Ms. McCorkle and her husband are both essential workers. Ms.

McCorkle is employed as a restaurant server. She did not work from March to June

2020 due to COVID-19, but is now back at work. Ms. McCorkle and her husband’s



142
      Id.

                                            68
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.69 Filed 07/09/20 Page 69 of 101




roles as essential workers increase their risk of COVID-19 infection. Ms. McCorkle

is very concerned that she or her husband may contract or spread COVID-19.

      172. In 2016, DWSD disconnected Ms. McCorkle’s water service for non-

payment. DWSD did not affirmatively confirm whether Ms. McCorkle had the

ability to pay her bill before disconnecting her service.

      173. Following her service disconnection, Ms. McCorkle enrolled in

WRAP. However, she was unable to keep up with her payments to DWSD. In 2018,

DWSD disconnected Ms. McCorkle’s water service again. She looked to enroll in

an assistance program at that time but was informed she did not qualify for WRAP.

      174. Ms. McCorkle lived without water service in her home from 2018 until

April or May 2020. Initially, Ms. McCorkle struggled to get water donated to her

home for handwashing, drinking, bathing, cleaning, and sanitation. Eventually she

was connected to We the People of Detroit, which would deliver eight cases of water

every two weeks to her home.

      175. DWSD did not reconnect Ms. McCorkle’s water service until late April

or early May 2020. Her water pipes are in need of repairs. Currently, she can only

obtain water from the basement of her house. She must fill up jugs to use the water

in other areas of her home.

      176. In order to wash her hands, Ms. McCorkle must fill up a pail or bucket

of water from her basement, bring it upstairs, boil it on her hot water heater, and then


                                          69
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.70 Filed 07/09/20 Page 70 of 101




lather with soap and rinse. She is able to use this water from her basement for

handwashing and cleaning her dishes, but it is difficult for her to use it for other

cleaning purposes.

            177. Ms. McCorkle is currently paying $25 a month for her water service

under the Water Restart Plan, but also owes DWSD past arrearages.

            178. When Detroit resumes water shutoffs, Ms. McCorkle will be at

immediate risk of losing water service to her home due to her low income and

inability to pay her water bill. She is very concerned about the lack of water service

for herself and her family.

            179. According to an analysis conducted by the Brookings Institution, Ms.

McCorkle lives in a zip code with one of the highest concentrations of COVID-19

infections in Detroit.143 The zip code where Ms. McCorkle resides, 48217, has a

population that is 96.7% Black. From January 2019 to January 2020, this zip code

had 41.13 shutoffs for every 1,000 persons and was ranked 11th in number of

shutoffs among 25 zip codes with available data.

            180. Ms. McCorkle and her family live in close physical proximity to many

persons who are infected or who have a highly enhanced risk of infection of COVID-

19 or other diseases and who may lack water service to wash their hands, flush their



143
      Id.

                                            70
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.71 Filed 07/09/20 Page 71 of 101




toilets, or clean their homes. This places Ms. McCorkle and her family at a

heightened risk of infection of COVID-19 or other diseases.

      181. Plaintiff Renee Wilson is a 49-year-old Black resident of Detroit. She

owns her home in Detroit’s Brightmoor neighborhood, in zip code 48223. Ms.

Wilson lives with her son and minor grandchild. Nine of Ms. Wilson’s minor

grandchildren, ranging in age from one year to 16 years old, frequently visit her

home, including staying overnight. Ms. Wilson’s monthly income is $659 from

Social Security disability benefits, or $7,908 annually. For a household of three

people, this is less than 50% of the federal poverty level.144

      182. In 2016 and 2017, DWSD disconnected Ms. Wilson’s water service on

two occasions. In approximately 2017, Ms. Wilson was enrolled in WRAP. Under

the terms of the plan, Ms. Wilson was required to pay her current bill, which

averages around $200 per month, and $200 per month on her delinquent bill. This

required payment of $400 a month is more than 60% of her entire monthly income.

      183. In May 2019, Ms. Wilson was unable to make her monthly payment to

DWSD. As a result, her water service was disconnected. While she was unable to

make her payments, DWSD did not affirmatively confirm whether Ms. Wilson had

the ability to pay her bill before disconnecting her service.



  U.S. Dep’t of Health & Human Servs., Off. of the Ass’t Sec’y for Planning and
144

Eval., Poverty Guidelines (Jan. 8, 2020), https://aspe.hhs.gov/poverty-guidelines.

                                          71
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.72 Filed 07/09/20 Page 72 of 101




      184. Ms. Wilson had no water service in her home between May 2019 and

May 2020. Ms. Wilson’s church donated 30 cases of bottled water to her every two

weeks for handwashing, drinking, bathing, cleaning, and sanitation.

      185. During the time that Ms. Wilson lacked water service, she would wash

her hands by warming donated bottled water on the stove, placing it in a bowl,

wetting her hands with water and soap, and then rinsing with bottled water. She

would also use hand sanitizer.

      186. On April 14, 2020, DWSD sent Ms. Wilson a bill for $3,111.78 for

arrearages owed prior to her shutoff in May 2019. On May 4, she called DWSD to

determine if she had a reconnection fee. At no time did DWSD advise Ms. Wilson

that the Water Restart Plan and EO 2020-28 required the restoration of water service

to Detroit residents. On May 4, Brightmoor Food Pantry paid Ms. Wilson’s full

water bill and her water service was restored that month.

      187. When Detroit resumes water shutoffs, Ms. Wilson will be at immediate

risk of losing water service to her home due to her low income and inability to pay

her water bill. Her average monthly bill of $200 is approximately 30% of her

monthly income.

      188. According to an analysis conducted by the Brookings Institution, Ms.

Wilson lives in a zip code with one of the highest concentrations of COVID-19




                                        72
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.73 Filed 07/09/20 Page 73 of 101




infections in Detroit.145 The zip code where Ms. Wilson resides, 48223, has a

population that is 89.7% Black. From January 2019 to January 2020, this zip code

had 30 shutoffs for every 1,000 persons and was ranked 13th in number of shutoffs

among 25 zip codes with available data.

         189. Ms. Wilson and her family live in close physical proximity to many

persons who are infected or who have a highly enhanced risk of infection of COVID-

19 or other diseases and who may lack water service to wash their hands, flush their

toilets, or clean their homes. This places Ms. Wilson and her family at a heightened

risk of infection of COVID-19 or other diseases.

         190. Plaintiff People’s Water Board Coalition and its member organizations

have engaged in advocacy and expended resources to advocate for water

affordability in Detroit for nearly two decades.

         191. For years, the Coalition has urged local officials in Detroit, including

the Mayor and City Council, to impose a moratorium on water shutoffs and

implement a water affordability plan so that the city’s low-income residents can

afford their water bills. Coalition members have attended city council and town hall

meetings, provided testimony, written letters, and arranged for media interviews on

water issues. The Coalition has also engaged in state- and federal-level advocacy



145
      Henry-Nickie & Hudak, supra note 15.

                                           73
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.74 Filed 07/09/20 Page 74 of 101




with the Governor, state legislators, and congressional representatives on these

issues.

      192. On March 16, 2020, the Coalition sent a letter to Defendant Whitmer,

expressing concern with Detroit’s ability to reconnect water service to all

disconnected households.146 The letter urged the Governor to impose an indefinite

moratorium on shutoffs and implement a water affordability plan based on a

household’s ability to pay.

      193. During the COVID-19 pandemic, and as recently as June 26, 2020,

members of the Coalition have regularly encountered and provided assistance to

Detroit residents who were unaware of the Water Restart Plan and EO 2020-28 and

have not had their water restored during the health crisis.

      194. During the COVID-19 pandemic, the Coalition has sought to increase

awareness of the importance of handwashing and the dangers of water shutoffs

through billboards placed along Detroit freeways, including I-75, I-96, the Lodge

Freeway, and the Southfield Freeway.147




146
   Letter from People’s Water Board Coalition to Governor Gretchen Whitmer
(Mar. 16, 2020), https://www.peopleswaterboard.org/wp-
content/uploads/2020/03/PWB_AppealToWhitmer.pdf.
147
   People’s Water Board, Billboards,
https://www.peopleswaterboard.org/billboards/ (last visited July 8, 2020).

                                          74
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.75 Filed 07/09/20 Page 75 of 101




      195. The Coalition brought on four organizers during the pandemic to

canvass Detroit neighborhoods and inform residents of the Water Restart Plan and

EO 2020-28 to ensure that water is restored for all city residents.

      196. The Coalition has provided bottled water to some residents living

without water service during the COVID-19 pandemic, despite the Water Restart

Plan and EO 2020-28.

                             CLASS ALLEGATIONS

      197. Plaintiffs bring this case as a proposed class action under Federal Rules

of Civil Procedure 23(a), 23(b)(2), and 23(b)(3).

      198. Plaintiffs request that this Court certify four main classes as follows:

             a.    A class of all current and future Detroit residents who reside in,

                   or live in close proximity to, neighborhoods where disease has

                   spread widely and has caused high rates of infection because of

                   significant numbers of water shutoffs (“Class A”);

             b.    A class of all current and future DWSD customers who are or

                   will be at risk of becoming physically ill because they lack water

                   service or are “water insecure” (i.e., they may lose water service

                   at any time because of their chronic poverty and inability to pay

                   market rate fees for water) (“Class B”);

             c.    A class of all residential DWSD customers who, within the last


                                         75
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.76 Filed 07/09/20 Page 76 of 101




                  two years, have had their water service disconnected by Detroit

                  for non-payment without Detroit first determining whether they

                  had the means to pay and willfully refused to do so (“Class C”);

                  and

            d.    A class of all Black residents of Detroit who, within the last two

                  years, have had their water service disconnected by Detroit for

                  non-payment or are at risk losing water service once the city

                  resumes shutoffs (“Class D”).

      199. All Named Plaintiffs are members of Class A they seek to represent.

      200. All Named Plaintiffs are members of Class B they seek to represent.

      201. All Named Plaintiffs are members of Class C they seek to represent.

      202. All Named Plaintiffs are members of Class D they seek to represent.

      203. The members of each class are collectively referred to as “Class

Members.”

      204. Plaintiffs reserve the right to amend the definition of the above-defined

classes based on discovery or legal developments.

      205. This action is properly maintained as a class action because:

            a.    Joinder of all Class Members is impracticable because of the size

                  of each respective class or subclass. Upon information and belief,

                  each class or subclass includes at least several hundred, if not


                                        76
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.77 Filed 07/09/20 Page 77 of 101




                 several thousand, members.

            b.   Defendants have acted or refused to act on grounds generally

                 applicable to each respective class or subclass.

            c.   Common questions of law and fact exist as to Class Members

                 within each respective class or subclass and predominate over

                 any questions affecting only individual members. Common legal

                 and factual questions include but are not limited to: (i) the direct

                 impact of mass water shutoffs on the health or bodily integrity of

                 all members of the Class; (ii) whether Defendant Detroit’s

                 policies and practices have a disparate impact on Black residents

                 in violation of the FHA and ELCRA; (iii) whether any disparate

                 impact is justified by a substantial, legitimate, nondiscriminatory

                 interest; (iv) whether punitive damages for Class Members for

                 Defendant Detroit’s violations of the FHA are warranted; and (v)

                 whether a declaratory judgment and/or injunctive relief are

                 warranted regarding Defendants’ policies and practices.

            d.   Plaintiffs’ claims are typical of the claims of the classes they seek

                 to represent.

            e.   A class action is superior to the other available methods to

                 adjudicate this litigation fairly and efficiently.


                                        77
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.78 Filed 07/09/20 Page 78 of 101




             f.     There will be no difficulty in the management of this action as a

                    class action. Moreover, judicial economy will be served by

                    maintaining this lawsuit as a class action because it will likely

                    prevent individual harmed persons from filing hundreds or even

                    thousands of similar suits, which would otherwise burden the

                    judicial system. There are no obstacles to effective and efficient

                    management of this lawsuit as a class action.

      206. Plaintiffs will fairly and adequately represent and protect the interests

of Class Members because their interests coincide with—and are not antagonistic

to—the interests of the Class Members they seek to represent. Plaintiffs have

retained Counsel who are competent and have extensive experience in federal civil

rights, constitutional, consumer, and class action litigation.

                              CLAIMS FOR RELIEF

                                 COUNT ONE
                     Violation of Substantive Due Process
U.S. Constitution, Amendment XIV, 42 U.S.C. § 1983; Michigan Constitution
                             of 1963, Article I, § 17
    All Plaintiffs against Defendants City of Detroit, Duggan, and Brown

      207. Plaintiffs, on behalf of themselves and Classes A and B, re-allege and

re-plead all the allegations of the preceding and subsequent paragraphs of this

Complaint and incorporate them herein by reference.




                                          78
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.79 Filed 07/09/20 Page 79 of 101




         208. Plaintiffs have a clearly established fundamental right to bodily

integrity under the substantive due process guarantees the U.S. Constitution and the

Michigan Constitution of 1963.

         209. The Due Process Clause of the 14th Amendment to the U.S.

Constitution prohibits state and local governments from depriving individuals of life,

liberty, or property without due process of the law.148

         210. 42 U.S.C. § 1983 (“Section 1983”) allows individuals to bring actions

against state actors, including municipalities, for deprivations of federal

constitutional and statutory rights, including those protected by the 14th

Amendment.

         211. The Michigan Constitution of 1963 provides that “[n]o person shall be

. . . deprived of life, liberty or property, without due process of law.”149

         212. The above conduct of Defendants Detroit, Duggan, and Brown has been

taken under color of state and local law.

         213. Defendants Detroit, Duggan, and Brown have persisted in the practice

of employing water shutoffs as a collection method even though many households

subject to termination cannot afford to pay market rates for water service. In




148
      U.S. Const. amend. XIV, § 1, cl. 3.
149
      Mich. Const. 1963, Article I, § 17.

                                            79
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.80 Filed 07/09/20 Page 80 of 101




addition, the lack of water service in many residents’ homes is humiliating to

residents because of Defendant Detroit’s practice of marking customers’ homes with

bright blue paint when their water service is or is about to be disconnected, which

leads to the stigmatization of residents.

      214. In response to public complaints that a high poverty rate in Detroit

guarantees widespread termination of water service, Defendants have established or

used ineffective water assistance programs, which ensure a chronic lack of access to

water to low income families. These include the 10-30-50 program and WRAP.

      215. The inability of many families to pay for water service has led to an

increasing number of water disconnections for non-payment by DWSD.

      216. This lack of water service contributes to the spread of disease in the

City of Detroit, including infections of COVID-19.

      217. By establishing the Water Restart Plan, Defendants Detroit, Duggan,

and Brown effectively admitted the correlation between the lack of water service

and the spread of disease.

      218. Upon information and belief, Defendants Detroit, Duggan, and Brown

were out of compliance with EO 2020-28 and are now out of compliance with EO

2020-144 because there are residents of Detroit who previously had their water

service disconnected for non-payment and have not been restored during the

COVID-19 pandemic.


                                            80
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.81 Filed 07/09/20 Page 81 of 101




      219. In the face of a pandemic, the absence of an affordability plan, and a

high death toll, Defendant Duggan has stated that he plans to resume the use of water

shutoffs as a collection method after the coronavirus crisis has passed. This places

Detroit residents at risk of infection from various diseases and other health problems

that result from the lack of water.

      220. Plaintiffs and Classes A and B derive from the 14th Amendment a

fundamental liberty interest in personal security that includes their right to be free

from any arbitrary bodily punishment that strips them of the essence of their

personhood. This includes the right to be free of disease from the lack of water

service.

      221. Defendants Detroit, Duggan, and Brown breached the constitutionally

protected bodily integrity of Plaintiffs and Classes A and B by continuing to

implement their water shutoff policy in deliberate indifference to the known

correlation between disease and the lack of water service.

      222. Defendants Detroit, Duggan, and Brown violated the bodily integrity

of Plaintiffs and Classes A and B by causing conditions leading to the introduction

of infectious disease into their bodies, and/or by increasing the substantial likelihood

that such will occur.

      223. Defendants’ water shutoff policy shocks the conscience and violates the

substantive due process rights of Plaintiffs and Classes A and B.


                                          81
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.82 Filed 07/09/20 Page 82 of 101




         224. The infringement of Plaintiffs’ rights by Defendants Detroit, Duggan,

and Brown is ongoing and likely to continue into the future.

                                     COUNT TWO
                        Violation of Substantive Due Process
                U.S. Constitution, Amendment XIV, 42 U.S.C. § 1983
                 All Plaintiffs against Defendant Gretchen Whitmer

         225. Plaintiffs, on behalf of themselves and Classes A and B, re-allege and

re-plead all the allegations of the preceding and subsequent paragraphs of this

Complaint and incorporate them herein by reference.

         226. Plaintiffs have a clearly established fundamental right to bodily

integrity under the substantive due process guarantee of the U.S. Constitution.

         227. The Due Process Clause of the 14th Amendment to the U.S.

Constitution prohibits state governments from depriving individuals of life, liberty,

or property without due process of the law.150

         228. Section 1983 allows individuals to bring actions against state actors for

deprivations of federal constitutional and statutory rights, including those protected

by the 14th Amendment.

         229. The above conduct of Defendant Whitmer has been taken under color

of state and local law.

         230. Pursuant to the Michigan Emergency Management Act, Defendant


150
      U.S. Const. amend. XIV, § 1, cl. 3.

                                            82
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.83 Filed 07/09/20 Page 83 of 101




Whitmer has a duty to address public emergencies. The Act provides that “[t]he

governor is responsible for coping with dangers to this state or the people of this

state presented by a disaster or emergency.”151 The Act also grants Governor

Whitmer the authority and capacity to direct local authorities to use local resources

to cope with a disaster or emergency.152

         231. For years, long before the current pandemic, the City of Detroit has

experienced an ongoing public health emergency due to its water shutoff policy,

because the lack of water service in many residents’ homes leads to disease and the

potential for disease.

         232. During the early weeks of 2020, the inadequacy of the 10-30-50

program and WRAP to assist Detroit’s water insecure population exacerbated the

vulnerability of those residents to COVID-19 infection and other diseases due to

their inability to wash their hands, bathe, flush their toilets, and clean their homes.

         233. Defendant Whitmer has not only a responsibility to address public

health emergencies, but she also has the authority and capacity to direct local

authorities to use local resources to address these problems pursuant to the Michigan

Emergency Management Act.




151
      Mich. Comp. Laws Ann. § 30.403(1).
152
      Mich. Comp. Laws Ann. § 30.405(1)(b), (j).

                                           83
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.84 Filed 07/09/20 Page 84 of 101




      234. Defendant Whitmer’s willingness in March 2020 to ensure water

availability for the people of Detroit was prompted solely by the statewide threat

posed by COVID-19. As late as February 2020, Defendant Whitmer refused a

request that she use her authority to require the reconnection of water service for

those in Detroit who were disconnected for non-payment even though it was clear

that Detroit residents faced a severe ongoing threat to public health that pre-dated

the arrival of COVID-19.

      235. On March 28, 2020, Defendant Whitmer issued EO 2020-28. The order

required public water utilities in Michigan to restore water service to occupied

residences where water service was shut off due to non-payment. On July 8, 2020,

EO 2020-28 was replaced by EO 2020-144, which requires the reconnection of water

service for residents through the end of 2020.

      236. In EOs 2020-28 and 2020-144, Defendant Whitmer explicitly

acknowledged the correlation between the lack of water and disease by stating

“[n]ow more than ever, the provision of clean water to residences is essential to

human health and hygiene, and to the public health and safety of this state.”153

      237. Defendant Whitmer also has a duty under the Michigan Emergency

Management Act to ensure full compliance with her executive orders. However,


153
   Mich. Exec. Order 2020-28, supra note 20, at 1; Mich. Exec. Order 2020-144,
supra note 21, at 2.

                                         84
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.85 Filed 07/09/20 Page 85 of 101




upon information and belief, she took no action to ensure that Detroit and other

municipalities within Michigan complied with EO 2020-28. Upon information and

belief, Defendants Detroit, Duggan, and Brown were out of compliance with EO

2020-28 and are now out of compliance with EO 2020-144 because there were and

are residents of Detroit who previously had their water service disconnected for non-

payment and have not been restored during the COVID-19 pandemic.

      238. Because Defendant Duggan has stated his intention to resume the use

of water shutoffs as a collection method, Defendant Whitmer must ensure either that

water shutoffs will not occur or that water shutoffs will not cause another public

health emergency of the type that existed prior to the COVID-19 pandemic. This can

happen through a permanent ban on water shutoffs and/or the institution of a

meaningful water affordability program that will ensure water is affordable and

available to all, including Detroit’s water insecure population.

      239. Defendant Whitmer issued EOs 2020-28 and 2020-144 in light of the

ongoing health impacts of the pandemic. Her evaluation of the need for these orders

necessarily involved an examination of the ongoing health risks posed by COVID-

19, including infection rates, deaths, and other conditions. Because of the

Governor’s broader responsibility under the Michigan Emergency Management Act

to address all public health emergencies, she is also required to consider the

inevitable adverse public health consequences of the planned resumption of water


                                         85
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.86 Filed 07/09/20 Page 86 of 101




shutoffs, even after the expiration of EO 2020-144 or any subsequent order requiring

the restoration of water service during the COVID-19 pandemic.

         240. Upon information and belief, water shutoffs in Detroit will resume

when the immediate threat of COVID-19 has passed. If there is no permanent ban

on water shutoffs and the institution of a water affordability plan for Detroit

residents, other public health dangers of the kind that predated COVID-19 and that

have always been caused by water shutoffs will remain. Because of Defendant

Whitmer’s obligation to address all public health emergencies, she is obligated to

ensure water availability for all persons after the immediate threat of COVID-19 has

passed.

         241. Despite this responsibility, Defendant Whitmer made clear in EO 2020-

144 that the order does not relieve a customer of the obligation to pay for water,

prevent a public water supply from charging any customer for water service, or

reduce the amount a resident may owe to a public water supply.154

         242. As of the date of this filing, Defendant Whitmer has used her authority

to make water available after the expiration of EO 2020-144 only to support water

assistance programs that are ineffective and that do not ensure the availability of

water to Detroit’s water insecure population. Specifically, she sought increased



154
      Mich. Exec. Order 2020-144, supra note 21, at 2.

                                          86
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.87 Filed 07/09/20 Page 87 of 101




funding for WRAP shortly before the onset of the COVID-19 pandemic and also

supported the passage of SB 690, which will establish a statewide fund of $25

million to assist water utilities with arrearages incurred by customers during the

pandemic. This fund is limited to $700 in assistance for eligible households and only

covers arrearages and fees incurred during the COVID-19 state of emergency. Like

the 10-30-50 program and WRAP, this fund will not address the ongoing or long-

term water needs of Detroit’s water insecure population.

      243. Defendant Whitmer is fully knowledgeable of the inadequacy of this

water assistance fund and other water assistance programs. She has used the

authority of her office to solely sustain or facilitate creation of water assistance

programs that do not address the needs of Detroit’s water insecure population, rather

than require the establishment of an effective water affordability program. This

decision constitutes an affirmative act to create or increase the risk of harm to

Plaintiffs. In the absence of an emergency order or a water affordability program,

Detroit’s water insecure population will lose the ability to wash their hands, bathe,

flush their toilets, and clean their homes once Detroit resumes its water shutoff

policy.

      244. Defendant Whitmer knows or should know that the resumption of water

shutoffs in Detroit and the lack of a water affordability plan for Detroit residents will

result in the increased risk to Plaintiffs of infection from COVID-19 and other


                                           87
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.88 Filed 07/09/20 Page 88 of 101




diseases, due to the lack of water for handwashing and cleaning purposes. Defendant

Whitmer’s decision to rely solely upon water assistance programs that provide

limited relief will not address the needs of Detroit’s water insecure population.

      245. Plaintiffs derive from the 14th Amendment a fundamental liberty

interest in personal security that includes their right to be free from any arbitrary

bodily punishment that strips them of the essence of their personhood. This includes

the right to be free of disease from the lack of water service.

      246. Defendant Whitmer’s actions constitute a state-created danger resulting

from the Governor’s deliberate indifference to the threat of violation of Plaintiffs’

bodily integrity.

      247. Defendant Whitmer’s actions will violate Plaintiffs’ bodily integrity by

causing conditions leading to the introduction of infectious disease into the

Plaintiffs’ bodies, and/or the substantial likelihood that such will occur.

      248. Because of the information available to Defendant Whitmer, her failure

to use her authority under the Michigan Emergency Management Act to permanently

ban water shutoffs and institute a water affordability plan for Detroit residents will

be acts taken after careful, protracted contemplation of the threat posed by mass

water shutoffs to the bodily integrity of Plaintiffs. These acts shock the conscience

and will violate the substantive due process rights of Plaintiffs.




                                          88
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.89 Filed 07/09/20 Page 89 of 101




         249. The infringement of Plaintiffs’ rights by Defendant Whitmer is ongoing

and likely to continue into the future.

                               COUNT THREE
                        Violation of Equal Protection
U.S. Constitution, Amendment XIV, 42 U.S.C. § 1983; Michigan Constitution
                             of 1963, Article I, § 2
               All Plaintiffs against Defendant City of Detroit

         250. Plaintiffs, on behalf of themselves and Class C, re-allege and re-plead

all the allegations of the preceding and subsequent paragraphs of this Complaint and

incorporate them herein by reference.

         251. The Equal Protection Clause of the 14th Amendment to the U.S.

Constitution prohibits state and local governments from denying to any person

within their jurisdiction the equal protection of the laws.155 This includes a

prohibition against state actions that punish individuals for non-payment of

municipal services without first considering whether the individual had the ability

to pay and whether non-payment was willful.

         252. Section 1983 allows individuals to bring actions against state actors,

including municipalities, for deprivations of federal constitutional and statutory

rights, including those protected by the 14th Amendment.




155
      U.S. Const. amend. XIV, § 1. cl. 4.

                                            89
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.90 Filed 07/09/20 Page 90 of 101




         253. The Michigan Constitution of 1963 provides that “[n]o person shall be

denied the equal protection of the laws; nor shall any person be denied the enjoyment

of his civil or political rights or be discriminated against in the exercise thereof

because of religion, race, color or national origin.”156

         254. The above conduct of Defendant Detroit has been taken under color of

state and local law.

         255. DWSD’s Interim Rules and/or Customer Policies do not provide a

method by which to determine whether a customer has the means to pay their bill

prior to a disconnection of water service.

         256. Plaintiffs and Class C have a substantial interest in their water service,

as water is necessary for human survival, especially in the midst of a pandemic where

water is critical to stop the spread of COVID-19 and other bacterial or viral

infections through frequent handwashing and cleaning.

         257. Plaintiffs and Class C have a constitutionally protected property interest

in the continuation of their residential water service.

         258. Defendant Detroit’s practice of disconnecting water service to

residential account holders in ways that are humiliating and threaten public health




156
      Mich. Const. 1963, Article I, § 2.

                                           90
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.91 Filed 07/09/20 Page 91 of 101




constitutes a violation of the equal protection guarantees of the 14th Amendment to

the U.S. Constitution and the Michigan Constitution of 1963.

        259. Defendant Detroit’s practice of disconnecting water service to

residential account holders in a manner that has a disproportionate impact on the

city’s Black residents constitutes a violation of the equal protection guarantees of

the 14th Amendment to the U.S. Constitution and the Michigan Constitution of

1963.

        260. Defendant Detroit does not reasonably further any legitimate

government interest in collecting unpaid water debt by disconnecting the water

service of predominately Black residential customers who do not have the means to

pay because they are indigent, through no fault of their own, at great risk to public

health and societal costs.

        261. Defendant Detroit does not reasonably further any legitimate

government interest in collecting unpaid water debt by disconnecting the water

service of predominately Black residential customers who do not have the means to

pay because they are indigent, through no fault of their own, especially in light of

the COVID-19 pandemic, as the disconnection of water service will result in the

increased risk of infection from COVID-19 and other diseases.

        262. Defendant Detroit does not reasonably further any legitimate

government interest in collecting unpaid water debt by disconnecting the water


                                         91
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.92 Filed 07/09/20 Page 92 of 101




service of predominately Black residential customers who do not have a means to

pay because they are indigent, through no fault of their own, as the city is likely to

suffer even greater economic losses associated with an increase in COVID-19

infections, including but not limited to increased hospitalizations and a further

decrease in tax revenue that will result from a prolonged uncontrolled pandemic.

      263. Defendant Detroit does not reasonably further any legitimate

government interest in collecting unpaid water debt by disconnecting the water

service of predominately Black residential customers who do not have a means to

pay because they are indigent, through no fault of their own, as such a policy does

not make it more likely that the city will recover its costs from indigent residents

who are truly unable to pay their arrearages.

      264. Defendant Detroit does not reasonably further any legitimate

government interest in collecting unpaid water debt through the implementation of

the 10-30-50 program and WRAP, as DWSD continues to disconnect water service

to tens of thousands of predominately Black residents each year, which demonstrates

the ineffectiveness of the programs in maintaining service and collecting unpaid

water debt.

      265. There are more reasonable means for Defendant Detroit to accomplish

its interest in collecting unpaid water debt, including by reducing or forgiving the

amount owed and/or establishing a water affordability program that takes a


                                         92
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.93 Filed 07/09/20 Page 93 of 101




customer’s level of income into account and ability to pay into account prior to the

disconnection of water service. These alternative means of collecting unpaid water

debt without disconnecting water service would pose no public health threat or result

in significant societal costs, such as the loss of life, livelihoods, or to the city’s tax

revenue during a prolonged and uncontrolled pandemic.

         266. DWSD’s Interim Rules and/or Customer Policies violate the equal

protection rights of Plaintiffs and Class C under the U.S. and Michigan Constitutions

because they authorize the disconnection of a customer’s water service without first

determining whether the customer has the ability to pay and is willfully refusing to

do so.

         267. The infringement of Plaintiffs’ rights by Defendant Detroit is ongoing

and likely to continue into the future.

                                    COUNT FOUR
                  Race Discrimination Under the Fair Housing Act
                               42 U.S.C. §§ 3601 et seq.
                   All Plaintiffs against Defendant City of Detroit

         268. Plaintiffs, on behalf of themselves and Class D, re-allege and re-plead

all the allegations of the preceding and subsequent paragraphs of this Complaint and

incorporate them herein by reference.

         269. Defendant Detroit’s discriminatory policy of disconnecting water

service to customers for non-payment has a disproportionate and unjustified impact

on Black residents of the city. Defendant Detroit’s policy causes Black residents to
                                           93
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.94 Filed 07/09/20 Page 94 of 101




disproportionately experience water shutoffs, forcing them to live without water

service in their homes.

      270. Defendant Detroit’s water shutoff policy has been in place for years and

has been temporarily halted due to the city’s Water Restart Plan and EOs 2020-28

and 2020-144. Upon information and belief, water shutoffs in Detroit will resume

when the immediate threat of COVID-19 has passed.

      271. By the actions described throughout this Complaint, Defendant Detroit

has violated, and continues to violate, the rights of Plaintiffs and Class D under the

FHA, 42 U.S.C. §§ 3601 et seq. and implementing regulations by discriminating on

the basis of race in the terms, conditions, or privileges of the provision of services

or facilities of a dwelling, in violation of 42 U.S.C. § 3604(b) and implementing

regulations.

      272. By the actions described throughout this Complaint, Defendant Detroit

has engaged in, and will continue to engage in, a policy, pattern, and practice of

discrimination against Black residents of Detroit due to their race, or the racial

composition of their neighborhood, in violation of the FHA.

      273. The past and continuing acts and conduct of Defendant Detroit have

had and will continue to have a harmful disparate impact on Black residents of

Detroit, in violation of the federally protected rights of Plaintiffs and Class D.

      274. Defendant Detroit’s discriminatory policy of disconnecting water


                                          94
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.95 Filed 07/09/20 Page 95 of 101




service to customers, prior to March 2020 and continuing upon the expiration of EO

2020-144, has harmed and will continue to harm Plaintiffs and Class D, and

constitutes unlawful discrimination on the basis of race in violation of 42 U.S.C.

§§ 3601 et seq.

      275. Plaintiffs and Class D have no plain, adequate, or complete remedy at

law to redress the wrongs alleged herein, and the relief sought in this action is the

only means of securing complete and adequate relief. The policy identified above

has been in place for several years, and Defendant Detroit plans to continue this

discriminatory action by immediately resuming water shutoffs. Plaintiffs and Class

D have suffered, and will continue to suffer, irreparable injury from the

discriminatory actions of Defendant Detroit.

      276. With the exception of the current period where Detroit has been banned

from disconnecting water service to residents for non-payment, Defendant Detroit

has maintained these acts, policies, and practices continuously, and they constitute a

continuing violation of 42 U.S.C. §§ 3601 et seq.

      277. Defendant Detroit’s discriminatory policy is an artificial, arbitrary, and

unnecessary barrier to housing.

      278. Defendant Detroit’s discriminatory policy is not justified by one or

more substantial, legitimate, nondiscriminatory interests. To the extent Detroit may

claim that its policy is justified by a substantial, legitimate, nondiscriminatory


                                         95
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.96 Filed 07/09/20 Page 96 of 101




interest, that interest may be achieved by less discriminatory means.

                                COUNT FIVE
        Race Discrimination Under the Elliott-Larsen Civil Rights Act
                     Mich. Comp. Laws Ann. § 37.2502
               All Plaintiffs against Defendant City of Detroit

      279. Plaintiffs, on behalf of themselves and Class D, re-allege and re-plead

all the allegations of the preceding and subsequent paragraphs of this Complaint and

incorporate them herein by reference.

      280. Defendant Detroit’s discriminatory policy of disconnecting water

service to customers for non-payment has had and will continue to have a

disproportionate and unjustified impact on Black residents of the city.

      281. By the actions described throughout this Complaint, Defendant Detroit

has violated, and will continue to violate, the rights of Plaintiffs and Class D under

ELCRA, Mich. Comp. Laws Ann. § 37.2502, by discriminating on the basis of race

in in the terms, conditions, or privileges of a real estate transaction or in the

furnishing of facilities or services in connection with a real estate transaction.

      282. By the actions described throughout this Complaint, Defendant Detroit

has engaged in, and will continue to engage in, a policy, pattern, and practice of

discrimination against Black residents of Detroit due to their race, or the racial

composition of their neighborhood, in violation of ELCRA.

      283. The past and continuing acts and conduct of Defendant Detroit have

had and will continue to have a harmful disparate impact on Black residents of
                                          96
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.97 Filed 07/09/20 Page 97 of 101




Detroit, in violation of the protected rights of Plaintiffs and Class D.

      284. Defendant Detroit’s discriminatory policy of disconnecting water

service to customers has harmed and will continue to harm Plaintiffs and Class D,

and constitutes unlawful discrimination on the basis of race in violation of ELCRA,

Mich. Comp. Laws Ann. § 37.2502.

      285. Plaintiffs and Class D have no plain, adequate, or complete remedy at

law to redress the wrongs alleged herein, and the relief sought in this action is the

only means of securing complete and adequate relief. The policy identified above

has been in place for several years, and Defendant Detroit plans to continue this

discriminatory action by immediately resuming water shutoffs. Plaintiffs and Class

D currently suffer, and will continue to suffer, irreparable injury from the

discriminatory actions of Defendant Detroit.

      286. Defendant Detroit has maintained these acts, policies, and practices

continuously, and they constitute a continuing violation of ELCRA.

      287. Defendant Detroit’s discriminatory policy is an artificial, arbitrary, and

unnecessary barrier to housing.

      288. Defendant Detroit’s discriminatory policy is not justified by one or

more substantial, legitimate, nondiscriminatory interests. To the extent Detroit may

claim that its policy is justified by a substantial, legitimate, nondiscriminatory

interest, that interest may be achieved by less discriminatory means.


                                          97
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.98 Filed 07/09/20 Page 98 of 101




                          PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs and Class Members pray for relief as follows:

            a.   Certification of the case as a class action on behalf of each
                 proposed class;

            b.   Designation of all Plaintiffs as representatives of Class A;

            c.   Designation of all Plaintiffs as representatives of Class B;

            d.   Designation of all Plaintiffs as representatives of Class C;

            e.   Designation of all Plaintiffs as representatives of Class D;

            f.   Designation of Plaintiffs’ counsel of record as Class Counsel;

            g.   Declaration that the actions of Defendants described above
                 constitute a violation of Plaintiffs’ rights to substantive due
                 process under the 14th Amendment to the U.S. Constitution,
                 brought under 42 U.S.C. § 1983;

            h.   Declaration that the actions of Defendants Detroit, Duggan, and
                 Brown described above constitute a violation of Plaintiffs’ rights
                 to substantive due process under the Michigan Constitution of
                 1963, Article I, § 17;

            i.   Declaration that the actions of Defendant Detroit described
                 above constitute a violation of Plaintiffs’ rights to equal
                 protection under the 14th Amendment to the U.S. Constitution,
                 brought under 42 U.S.C. § 1983, and the Michigan Constitution
                 of 1963, Article I, § 2;

            j.   Declaration that the actions of Defendant City of Detroit
                 described above constitute discrimination on the basis of race in
                 violation of the Fair Housing Act, 42 U.S.C. §§ 3601 et seq., and
                 the Elliott-Larsen Civil Rights Act, Mich. Comp. Laws Ann.
                 § 37.2502;




                                       98
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.99 Filed 07/09/20 Page 99 of 101




            k.     Permanent injunction prohibiting Defendants from engaging in
                   the unconstitutional and/or discriminatory conduct described
                   herein and requiring Defendants to take all steps necessary to
                   remedy the effect of such conduct and prevent similar
                   occurrences in the future;
            l.     Compensatory damages against Defendants City of Detroit,
                   Duggan, and Brown for their constitutional violations, in an
                   amount to be determined at trial, to fully compensate Plaintiffs
                   for injuries including, but not limited to, humiliation,
                   embarrassment, and emotional distress that they have suffered as
                   a result of these Defendants’ actions described above;
            m.     Compensatory damages against Defendant City of Detroit for its
                   violations of the FHA and ELCRA, in an amount to be
                   determined at trial, to fully compensate Plaintiffs for injuries
                   including, but not limited to, monetary loss, humiliation,
                   embarrassment, emotional distress, the deprivation of statutory
                   rights, and other damages they have suffered as a result of
                   Defendant City of Detroit’s actions described above;

            n.     Punitive damages against Defendant City of Detroit for its
                   violations of the FHA, in an amount to be determined at trial,
                   which would punish Defendant City of Detroit for its intentional,
                   malicious, willful, callous, wanton, and reckless disregard for
                   Plaintiffs’ rights and effectively deter Defendant City of Detroit
                   from engaging in similar conduct in the future;
            o.     Reasonable attorneys’ fees and costs, pursuant to 42 U.S.C.
                   §§ 1988 and 3613(c)(2) and Mich. Comp. Laws Ann. § 37.2802;

            p.     Prejudgment and post-judgment interest; and
            q.     Such other relief as the Court deems appropriate and just.

                                 JURY DEMAND

      Plaintiffs demand a trial by jury in this action.




                                          99
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.100 Filed 07/09/20 Page 100 of 101




 Dated:       Detroit, Michigan
 July 9, 2020
                                    Respectfully submitted,

                                    By: /s/Mark P. Fancher
                                    Mark P. Fancher (P56223)
                                    Daniel S. Korobkin (P72842)
                                    Bonsitu Kitaba-Gaviglio (P78822)
                                    AMERICAN CIVIL LIBERTIES UNION
                                     FUND OF MICHIGAN
                                    2966 Woodward Avenue
                                    Detroit, Michigan 48201
                                    Tel.: (313) 578-6800
                                    mfancher@aclumich.org
                                    dkorobkin@aclumich.org
                                    bkitaba@aclumich.org

                                    NAACP LEGAL DEFENSE
                                    AND EDUCATIONAL FUND, INC.
                                    Coty Montag
                                    Jason Bailey
                                    700 14th Street NW, Suite 600
                                    Washington, DC 20005
                                    Tel.: (202) 682-1300
                                    cmontag@naacpldf.org
                                    jbailey@naacpldf.org

                                    Monique Lin-Luse
                                    40 Rector Street, 5th Floor
                                    New York, New York 10006
                                    Tel.: (212) 965-2200
                                    mlinluse@naacpldf.org

                                    EDWARDS & JENNINGS, P.C.
                                    Alice B. Jennings (P29064)
                                    Cadillac Tower Building
                                    65 Cadillac Square, Suite 2710
                                    Detroit, Michigan 48226
                                    Tel.: (313) 961-5000
                                    ajennings@edwardsjennings.com
                                     100
Case 2:20-cv-11860-DPH-APP ECF No. 1, PageID.101 Filed 07/09/20 Page 101 of 101




                                    MICHIGAN           POVERTY            LAW
                                    PROGRAM
                                    Lorray S. C. Brown (P60753)
                                    15 South Washington Street, Suite 202
                                    Ypsilanti, Michigan 48197
                                    Tel.: (734) 998-6100 ext. 613
                                    Fax.: (734) 998-9125
                                    lorrayb@mplp.org

                                    THORNBLADH LEGAL GROUP PLLC
                                    Kurt Thornbladh (P25858)
                                    7301 Schaefer
                                    Dearborn, Michigan 48126
                                    Tel: (313) 943 2678
                                    kthornbladh@gmail.com

                                    MELISSA Z. EL, P.C.
                                    Melissa Z. El Johnson (P29865)
                                    500 Griswold Suite 2410
                                    Detroit, Michigan 48226
                                    Tel.: (313) 963-1049
                                    Fax: (313) 963-3342
                                    eljohnsonlaw@gmail.com

                                    Attorneys for Plaintiffs and the Putative
                                    Classes




                                     101
